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                                                                           8
                                                                                                IN THE UNITED STATES DISTRICT COURT
                                                                           9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                                                          10   HOPE FOR THE HOMELESS LAKE-                                 Case No. 3:24-cv-1009-L-MSB
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                                                                          11   SIDE, INC., a California Nonprofit
                                                                               Corporation; BRIAN ALBONE; MIC-
                                                  SAN DIEGO, CA 92101
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                                                                          12   HAEL BISHOP; DANIEL CAPPA-                                  SECOND AMENDED CLASS ACTION
                                                                          13   SOLA; JAMES DATTOLICO; CHAR-                                COMPLAINT for INJUNCTIVE and
                                                                               ITY DAVIS; JENNIFER GASKA;                                  DECLARATORY RELIEF AGAINST
                                                                          14   CHRISTY GILLETTE; STEVEN                                    VIOLATIONS OF THE FOURTH &
                                                                          15   LEGGOTT; TODD LENT; AMANDA                                  FOURTEENTH AMENDMENTS TO
                                                                               LUTHER; HAROLD LUTHER; JOHN                                 THE UNITED STATES CONSTITU-
                                                                          16   “AUGIE” MARTINEZ; JILL MCCOY;                               TION     UNDER     COLOR    OF
                                                                          17   BRITTANY STEBBINS; AUSTIN                                   AUTHORITY (42 U.S.C. §1983);
                                                                               WHALEY; DAVID WILLIAMS;                                     VIOLATIONS OF THE AMERI-
                                                                          18
                                                                               Individually on Behalf of Themselves                        CANS WITH DISABILITIES ACT (42
                                                                          19   and All Others Similarly Situated,                          U.S.C. §12132); and VIOLATIONS
                                                                                                                                           OF THE CONSTITUTION and
                                                                          20                                      Plaintiffs,              LAWS OF THE STATE OF
                                                                          21   v.                                                          CALIFORNIA.
                                                                          22   COUNTY OF SAN DIEGO; CITY OF                                             Jury Trial Requested.
                                                                          23   LAKESIDE; CITY OF SANTEE;
                                                                               CITY OF SAN DIEGO; TONY
                                                                          24
                                                                               TAVARES; ANN FOX; and DOES 1 –
                                                                          25   48, inclusive,
                                                                          26                        Defendants.
                                                                          27   ________________________________

                                                                          28

                                                                                            Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   0
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                                                                           1                                             INTRODUCTION

                                                                           2         Homelessness should not come as a surprise to the people managing the
                                                                           3   County of San Diego and cities within it. The issue has been around for generations:
                                                                           4                 In the shadow of the steeple I saw my people
                                                                                             By the relief office I seen my people
                                                                           5
                                                                                             As they stood there hungry, I stood there asking
                                                                           6                 Is this land made for you and me?
                                                                           7                          - Woody Guthrie, “This Land is Your Land” (1940)
                                                                           8         But as the problem has worsened, the County of San Diego and many of its
                                                                           9   cities, including Santee and Lakeside, do nothing to solve it. Instead, they express
                                                                          10
                                                                               fake surprise while actively ignoring the data showing increasing numbers of
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                                                                          11
                                                                               homeless people and corresponding decreases in the amount of affordable housing
                                                  SAN DIEGO, CA 92101
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                                                                          12
                                                                               within their jurisdictions. Defendants respond to the data, and the problems it
                                                                          13
                                                                               reflects, with very different lyrics from those of Mr. Guthrie:
                                                                          14
                                                                                             “You’re a piece of shit!”
                                                                          15                 “Lakeside would be a better place without you!”
                                                                          16
                                                                                             “Get out of here or go to jail!”
                                                                                             “Leave immediately or get arrested!”
                                                                          17                 “Do not call back again.”
                                                                          18                 “You can’t be here! Go to El Cajon!”
                                                                                             “Get the fuck out of here! There’s the answer for you!”
                                                                          19
                                                                                   Rather than create safe places where people without homes can “exist” with their
                                                                          20
                                                                               meager possessions, or assist people in finding or obtaining such, as law and
                                                                          21
                                                                          22
                                                                               common sense would dictate, these Governments entities instead focus their efforts

                                                                          23   first, and solely, on using criminal statutes to chase and destroy. They justify the use

                                                                          24   of Municipal Codes, Local Ordinances, and State Penal Codes in this fashion as

                                                                          25   protecting “citizens’ health and safety,” while ignoring the irony of the fact that their
                                                                          26   actions are instead actively and willfully endangering and harming the “health and
                                                                          27   safety” of Citizens who have nowhere to sleep, live, or be. Defendants use “health
                                                                          28   and safety” as a pretext, and reject the notion that homeless people are “citizens.”

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                                                                           1
                                                                                   Plaintiffs bring this putative class action to challenge the policy and custom of
                                                                           2
                                                                               “homeless sweeps,” where the Defendants, and their agencies and agents, seize and
                                                                           3
                                                                               destroy the personal belongings of homeless San Diegans residing outdoors
                                                                           4
                                                                               (“homeless residents”) without due process and force them to move along from
                                                                           5
                                                                               relatively established locations, depriving some of the County’s most vulnerable
                                                                           6
                                                                               residents of their basic necessities and leaving them endangered and in peril.
                                                                           7
                                                                                   The Defendants carry out hundreds of homeless sweeps per year. During these
                                                                           8
                                                                               sweeps the Defendants seize and destroy items that are critical to homeless residents’
                                                                           9
                                                                               survival, including warm                clothing, medications, bedding, and                               personal
                                                                          10
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                                                                               documentation (i.e. identification cards and birth certificates) needed to access
                                                                          11
                                                  SAN DIEGO, CA 92101




                                                                               public services, secure housing, seek employment, and apply for public benefits.
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                                                                          12
                                                                                   The Defendants consistently fail to give adequate, timely notice to homeless
                                                                          13
                                                                               residents in advance of sweeps and, in many instances, do not give any notice at all.
                                                                          14
                                                                               In cases where the Defendants do provide advance notice of a sweep, the notice does
                                                                          15
                                                                               not state the basis for the sweep, offer any avenue for homeless residents to contest
                                                                          16
                                                                               or avoid the sweep, or sufficiently alert homeless residents to the risk that they may
                                                                          17
                                                                          18
                                                                               have their personal property seized and destroyed during a sweep.

                                                                          19
                                                                                   The Defendants do not offer any kind of post-deprivation mechanism for lawful

                                                                          20   owners to reclaim their personal property that was taken by Defendants. Instead, the

                                                                          21   sweeps teams throw homeless residents’ belongings into a sanitation truck and

                                                                          22   summarily destroy them with the trucks’ compactors.
                                                                          23       The Defendants also forcibly displace the homeless residents during sweeps,
                                                                          24   making them relocate from sites where they have sought shelter and security.
                                                                          25       The Defendants carry out sweeps without having or following proper written
                                                                          26   policies for doing so, or with facially inadequate and unconstitutional policies, and
                                                                          27   nevertheless deviate from such policies in practice in ways that are unlawful and
                                                                          28   unconstitutional.

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                                                                           1       Defendants purport to conduct sweeps under the guise of addressing sanitation
                                                                           2   and safety conditions. The reality, however, is that displacing homeless people and
                                                                           3   seizing and destroying their personal belongings does nothing to advance these
                                                                           4
                                                                               goals.
                                                                           5
                                                                                   Organizational Plaintiff Hope For the Homeless, Lakeside (“HFTH-L”) is a
                                                                           6
                                                                               direct services provider that renders assistance to homeless East San Diego County
                                                                           7
                                                                               residents who experience homeless sweeps and has diverted significant
                                                                           8
                                                                               organizational resources to doing so.
                                                                           9
                                                                                   The Individual Plaintiffs are homeless East San Diego County residents who
                                                                          10
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                                                                               have been subjected to numerous sweeps and property destruction events, and are at
                                                                          11
                                                  SAN DIEGO, CA 92101




                                                                               imminent risk of being subjected to additional homeless sweeps in the future.
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                                                                          12
                                                                               Defendants’ sweeps have violated the rights of Plaintiffs – and all similarly-situated
                                                                          13
                                                                               persons – under the Fourth and Fourteenth Amendments to the United States
                                                                          14
                                                                               Constitution, as well as Article 1 of the California Constitution, and the laws of the
                                                                          15
                                                                               State of California.
                                                                          16
                                                                                   Defendants have been deliberately indifferent to the violations of Plaintiffs’
                                                                          17
                                                                               rights and have knowingly and intentionally facilitated displacement of homeless
                                                                          18
                                                                               San Diegans and destruction of their property.
                                                                          19
                                                                                   Indeed, Defendants’ actions appear designed to undermine and do the opposite
                                                                          20
                                                                          21
                                                                               of their express mandates and obligations under Welfare & Institutions Code §17000

                                                                          22   to “relieve and support all incompetent, poor, indigent persons, and those

                                                                          23   incapacitated by age, disease, or accident” who reside in San Diego County.

                                                                          24       This lawsuit arises out of the ongoing policies and practices of the Defendants

                                                                          25   joining together to regularly and repeatedly chase homeless people “away,” by
                                                                          26   raiding their sleeping sites and taking and destroying their property, in a coordinated
                                                                          27   effort to make it impossible for homeless people to live and exist, while
                                                                          28   simultaneously refusing to provide any other places for these people to go.

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                                                                           1
                                                                                   Defendants conduct these raids without proper or adequate notice and in a
                                                                           2
                                                                               manner designed to prevent people from retaining or reclaiming their personal
                                                                           3
                                                                               property. The raids are rarely, if ever, preceded or accompanied by any efforts by
                                                                           4
                                                                               Defendants to help or assist the homeless people who will be subject to them.
                                                                           5
                                                                               Defendants’ actions are intended solely to make homeless people “disappear.”1
                                                                           6
                                                                                   This land is made for all of us, as Mr. Guthrie correctly noted. Accordingly,
                                                                           7
                                                                               Plaintiffs, on behalf of themselves and all similarly-situated Citizens, ask the Court
                                                                           8
                                                                               to Order these Defendants to take the only correct, legal, ethical, and just actions –
                                                                           9
                                                                               (1) to cease taking and/or destroying Plaintiffs’ and others’ property without
                                                                          10
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                                                                               providing any proper and reasonable method for these unhoused citizens to retain
                                                                          11
                                                  SAN DIEGO, CA 92101




                                                                               and/or retrieve it; (2) to create sufficient, adequate, and accessible Safe Places for all
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                                                                          12
                                                                          13   their unhoused Citizens to be and to store their possessions; (3) to stop raiding,

                                                                          14   sweeping, chasing, threatening, arresting, and criminalizing unhoused Citizens

                                                                          15   unless and until such Safe Places first exist, accessible and available for all of these

                                                                          16   people without hassle or delay; and (4) to stop endangering the health and safety of
                                                                          17   homeless Citizens, and instead properly comply with their obligations under Federal
                                                                          18   and State law.
                                                                          19                                    JURISDICTION AND VENUE
                                                                          20       1. This Court has jurisdiction over these claims for relief pursuant to 28 U.S.C.
                                                                          21   §1331 and §1343(a) and 42 U.S.C. §1983. Supplemental jurisdiction over Plaintiffs’
                                                                          22   state law claims exists pursuant to 28 U.S.C. §1367.
                                                                          23       2. Venue is proper in the Southern District of California because all Defendants
                                                                          24   reside in the District and all the events giving rise to Plaintiffs’ claims occurred in
                                                                          25   the District. The relief Plaintiffs seek is within this Court’s power to grant.
                                                                          26
                                                                          27   1  “Could it be that the real reason I pretended to ignore a man in need was because I was trying
                                                                               desperately not to see him as a human being for whom I was responsible?” Kate Cohen, Wash-
                                                                          28
                                                                               ington Post https://www.washingtonpost.com/opinions/2023/12/29/real-reason-beggars-giving/
                                                                                           Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   5
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                                                                           1                                    CLASS ACTION ALLEGATIONS

                                                                           2       3. Plaintiffs bring this action on their own behalves and on behalf of all other

                                                                           3   persons similarly situated pursuant to Fed.R.Civ.P. 23(a) and 23(b)(2). The Class of
                                                                           4   people that Plaintiffs represent consists of all those persons in the region of East San
                                                                           5   Diego County that contains the City of Santee and the unincorporated areas of the
                                                                           6   City of Lakeside, and adjacent areas thereabouts, who: (1) have been the subjects of
                                                                           7   Defendants’ sweeps, citations, warnings, chase-away efforts, property seizures,
                                                                           8   destructions, takings, and/or confiscations, and/or other action(s), and repeated
                                                                           9   threats thereof; (2) were homeless at the time of Defendants’ enforcement actions
                                                                          10   and threats thereof; and (3) because of such homelessness had nowhere else to place
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                                                                          11   themselves or their belongings except on public property at the time(s) of
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                                                                          12   Defendants’ action(s).
                                                                          13       4. Plaintiffs also bring this cause of action on behalf of a subclass, referred to as
                                                                          14   the “Disability Subclass,” or “Subclass,” which is defined as: All Class Members
                                                                          15   who have a “disability” as defined under the ADA, 42 U.S.C. §12102. Plaintiffs
                                                                          16   ALBONE; BISHOP; GILLETTE; LEGGOTT; McCOY; and WHALEY have
                                                                          17   one or more “disabilities” and are considered “disabled” as defined under 42 U.S.C.
                                                                          18   §12102, and are members of and included in the Disability Subclass.
                                                                          19
                                                                                   5. This action meets all four elements of Rule 23(a): (1) numerosity, (2)
                                                                          20
                                                                               commonality, (3) typicality, and (4) adequacy of representation. Additionally, this
                                                                          21
                                                                               suit may be maintained as a Rule 23(b)(2) class action because Defendants have
                                                                          22
                                                                               acted on grounds that apply generally to the Class, so that final injunctive and/or
                                                                          23
                                                                               declaratory relief is appropriate respecting the Class as a whole.
                                                                          24
                                                                                   6. The members of the Class and Subclass are numerous such that individual
                                                                          25
                                                                               joinder of all Members is impracticable.2 The Class is comprised of hundreds of
                                                                          26
                                                                               individuals who are homeless in the region of East San Diego County that contains
                                                                          27
                                                                          28   2   Fed. R. Civ. P. 23(a)(1).
                                                                                            Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   6
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                                                                           1   the City of Santee and the unincorporated areas of the City of Lakeside, and adjacent

                                                                           2   areas thereabouts, and who have been wronged by Defendants’ improper actions.

                                                                           3   Joining all these individuals in this lawsuit is impractical and unnecessary. In
                                                                           4   addition, Plaintiffs believe that the Subclass consists of hundreds of homeless
                                                                           5   individuals based on the high number of persons with disabilities found in surveys
                                                                           6   of the homeless population in San Diego. In fact, “Countywide, only 10 percent of
                                                                           7   people have disabilities, while people with disabilities make up 58 percent of the
                                                                           8   homeless population.”3
                                                                           9       7. Questions of law and fact are common to the Class.4 The claims asserted
                                                                          10   “depend upon a common contention of such a nature that it is capable of class-wide
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                                                                          11   resolution...”,5 and show that the Class is affected by a “general policy” on the part
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                                                                          12   of the defendants. The Class is united in its interests with respect to proof of
                                                                          13   Defendants’ conduct, the alleged effects caused by Defendants’ actions, and whether
                                                                          14   Defendants’ actions violate the law and Plaintiffs’ constitutional rights.
                                                                          15       8. Plaintiffs assert claims typical of the Class.6 Class Representatives have the
                                                                          16   same essential characteristics as the Class, in that they are, or were, homeless at the
                                                                          17   times of Defendants’ actions, and they had nowhere else to place themselves or their
                                                                          18   belongings other than public property. The proposed Class is united in the factual
                                                                          19
                                                                               questions underlying this case: whether Defendants are improperly taking,
                                                                          20
                                                                               destroying, and/or failing to return Plaintiffs’ property; whether Defendants are
                                                                          21
                                                                               endangering the health and safety of Plaintiffs and Class Members; whether there
                                                                          22
                                                                               are insufficient services and/or storage facilities provided to accommodate Plaintiffs
                                                                          23
                                                                               and the Class Members and their possessions; whether some belongings (blankets,
                                                                          24
                                                                          25   3  Warth, Gary. “County’s Homeless: Disabled, 55 and older and Black.” SD Union Tribune
                                                                               (September 15, 2020) (https://www.sandiegouniontribune.com/news/homelessness/story/2020-
                                                                          26   09-15/countys-homeless-disabled-55-and-older-and-black).
                                                                               4
                                                                          27      Fed. R. Civ. P. 23(a)(2).
                                                                               5  Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2553 (2011).
                                                                          28   6  Fed. R. Civ. P. 23(a)(3).
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                                                                           1   tarps, medicine, etc.) qualify as “basic human needs” for people experiencing

                                                                           2   homelessness; whether Plaintiffs are capable of complying with Defendants’ threats

                                                                           3   and demands, as currently promulgated and enforced; and whether Defendants
                                                                           4   operate under a policy of systematically taking such illegal actions against the Class.
                                                                           5   Factual differences in Plaintiffs’ individual respective circumstances are not legally
                                                                           6   significant to the constitutional claims asserted in this action and do not defeat
                                                                           7   typicality, nor is there unusual treatment from Defendants that defeats the typicality
                                                                           8   of the claims. The Class Representatives’ interests “align with the interests of the
                                                                           9   Class,” and they have endured the same courses of conduct directed against the
                                                                          10   Class.7 Class Representatives seek injunctive and declaratory relief to protect the
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                                                                          11   civil rights of the Class, and they seek no individual gain in the form of damages or
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                                                                          12   other relief separate from the Class, nor do they assert individual claims that would
                                                                          13   disadvantage the Class.
                                                                          14       9. Class Representatives will fairly and adequately represent the interests of the
                                                                          15   Class and have no interests antagonistic to those interests.8 Plaintiffs’ interests are
                                                                          16   aligned with those of the Class Members, all of whom stand to benefit from the relief
                                                                          17   sought in this action. Plaintiffs have retained lawyers who are competent and
                                                                          18   experienced in class action litigation, who will zealously represent the interests of
                                                                          19
                                                                               the Class and its Members. Class Representatives have agreed to represent the
                                                                          20
                                                                               interests of the entire Class, are dedicated to taking an active role in this litigation
                                                                          21
                                                                               and are committed to fulfilling their responsibilities to the best of their ability, and
                                                                          22
                                                                               participating in all phases of this lawsuit.
                                                                          23
                                                                                   10. Plaintiffs’ Counsel are qualified under the factors of Fed.R.Civ.P.
                                                                          24
                                                                               23(g)(1)(A). Counsel have spent significant time investigating facts and identifying
                                                                          25
                                                                               potential claims in this action, including interviewing Class Members; have
                                                                          26
                                                                          27
                                                                               7   Just Film, Inc. v. Buono, 847 F.3d 1108, 1117-18 (9th Cir. 2017).
                                                                          28   8   Fed.R.Civ.P. 23(a)(4).
                                                                                           Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   8
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                                                                         1   successfully handled class action and other complex litigation matters in the past,

                                                                         2   including the types of civil rights claims asserted in this action; have extensive

                                                                         3   knowledge of applicable civil rights laws; and are committed to spending the time
                                                                         4   and resources necessary to effectively represent the entire Class.
                                                                         5      11. These are the types of large-scale and widespread constitutional claims that
                                                                         6   fall within the purview of F.R.Civ.P. 23(b)(2), allowing the Court to address
                                                                         7   constitutional issues while providing access to justice for displaced and vulnerable
                                                                         8   people who would not otherwise be able to avail themselves of the judicial system.
                                                                         9   The disposition of these claims in a class action will benefit all the parties to the
                                                                        10   case, and all the citizens of the County of San Diego, by ensuring proper treatment
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                                                                        11   of all County residents by its governmental entities and agents. Disposition of
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                                                                        12   Plaintiffs’ and proposed Class Members' claims will also provide substantial benefits
                                                                        13   to the Court, allowing it to address a systemic issue in one case, rather than having
                                                                        14   to address potentially hundreds of related civil rights actions individually.
                                                                        15      12. Further, class treatment will permit the adjudication of claims by many Class
                                                                        16   Members who could not afford to individually litigate their claims or seek to enforce
                                                                        17   or vindicate their rights against the governments’ improper actions. There are no
                                                                        18   difficulties likely to be encountered in the management of this case which might
                                                                        19
                                                                             preclude its maintenance as a class action, and no superior alternative exists for fair
                                                                        20
                                                                             and efficient adjudication of this matter. This action will promote orderly and
                                                                        21
                                                                             expeditious administration and adjudication of the claims, economies of time, effort
                                                                        22
                                                                             and resources will be fostered, and uniformity of decisions will be insured. Absent
                                                                        23
                                                                             a class action, Class Members will continue to suffer threats, injuries, and other
                                                                        24
                                                                             harm, and Defendants’ violations of law will continue without remedy.
                                                                        25
                                                                                13. The people whom Plaintiffs represent are in dire need of the relief sought, as
                                                                        26
                                                                             they have been, are being, and will continue to be harmed by Defendants’ illegal
                                                                        27
                                                                             actions. The rights at stake are fundamental, and absent class certification, these
                                                                        28
                                                                             people have no way to address ongoing violations of their civil rights.
                                                                                        Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   9
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                                                                         1      14. Furthermore, it is not just the Class Members who will benefit from the relief

                                                                         2   sought herein; all citizens of San Diego County will benefit from an Order which

                                                                         3   effectively compels the Defendants to properly follow the law and do more than
                                                                         4   waste public funds and public efforts in their illegal efforts to “sweep” and chase
                                                                         5   their Citizens away.
                                                                         6                                               THE PARTIES
                                                                         7      A. Plaintiffs.
                                                                         8      15. Plaintiff HOPE FOR THE HOMELESS LAKESIDE (“HOPE”) is a
                                                                         9   501(c)(3) nonprofit corporation organized and existing under the laws of the State
                                                                        10   of California and doing business in San Diego’s East County, California. HOPE’s
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                                                                        11   mission is to care for the unhoused residents of San Diego’s East County while
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                                                                        12   recognizing the dignity and human rights of unhoused people. Through community
                                                                        13   organization and advocacy, HOPE provides basic necessities to unhoused residents
                                                                        14   of Santee and Lakeside and co-sponsors events with other nonprofits such as Think
                                                                        15   Dignity to provide showers, warm meals, survival gear, and hygiene products.
                                                                        16   HOPE’s work envisions a County in which every human being can have and
                                                                        17   maintain decent, habitable, safe, and secure housing, and this work requires daily
                                                                        18   engagement with unhoused communities of Santee and Lakeside. HOPE’s mission
                                                                        19
                                                                             includes engaging volunteers and donors to provide unhoused people with the basic
                                                                        20
                                                                             necessities needed to survive while living unsheltered, and ultimately have a chance
                                                                        21
                                                                             to exit homelessness. Over the past year, HOPE’s work has been increased and
                                                                        22
                                                                             hampered and undone by Defendants’ criminalization and property-destruction
                                                                        23
                                                                             practices that have the effect of undermining and discouraging such work.
                                                                        24
                                                                                16. Plaintiff BRIAN ALBONE lives in Santee and at all relevant times was and
                                                                        25
                                                                             is homeless as the term is defined in the Stewart B. McKinney Homeless Assistance
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                                                                             Act, 42 U.S.C § 11301 et seq., inasmuch as he lacks a fixed, regular, and adequate
                                                                        27
                                                                             nighttime residence.
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                                                                         1      17. Mr. ALBONE is a professional tree trimmer who worked for over a decade
                                                                         2   with Ace Tree Removal until the owner passed away and left Mr. ALBONE the
                                                                         3   business. He worked hard to keep that business thriving, but when his wife, Rose,
                                                                         4
                                                                             passed away in 2019 of COPD, Mr. ALBONE fell into a deep depression, and
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                                                                             attempted suicide because he “didn’t want to live without her.” He lost the business
                                                                         6
                                                                             and was evicted from the apartment he had shared with his wife, and soon was forced
                                                                         7
                                                                             to begin living on the streets. Not having a place to live makes it impossible for Mr.
                                                                         8
                                                                             ALBONE to find full-time employment. Mr. ALBONE is disabled due to severe
                                                                         9
                                                                             depression and bipolar disorder, lives in constant fear of losing his remaining
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                                                                             possessions, and is struggling with ulcers due to the constant stress he endures. He
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                                                  SAN DIEGO, CA 92101




                                                                             has been the subject of repeated sweeps by Defendants at the San Diego River
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                                                                        12
                                                                             Bottom in Santee, is relentlessly threatened by them with arrest and citation for
                                                                        13
                                                                             illegal lodging and trespassing and is constantly ordered to “Move along!”
                                                                        14
                                                                             Defendants, with no prior notice, took from him all his clothing, bicycle, tools, tree-
                                                                        15
                                                                             trimming gear, and all his family photographs including the only remaining pictures
                                                                        16
                                                                             he had of his parents. Defendants never gave Mr. ALBONE any opportunity to take,
                                                                        17
                                                                             or keep, or recover his belongings that they took, despite his requests. Defendants
                                                                        18
                                                                             have never offered him any helpful services or a place to sleep safely.
                                                                        19
                                                                                18. Plaintiff MICHAEL BISHOP is a resident of the County of San Diego and
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                                                                        21
                                                                             at all relevant times herein was and now is homeless as the term is defined in the

                                                                        22   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C §11301 et seq., inasmuch

                                                                        23   as he lacks a fixed, regular, and adequate nighttime residence.

                                                                        24      19. Mr. BISHOP is a carpenter and a paver by trade. Covid caused the loss of

                                                                        25   much of his employment, and he began living out of his car after his wife died and
                                                                        26   he could no longer afford their apartment. Eventually Mr. BISHOP, who is disabled,
                                                                        27   lost his car and was forced to live on the streets in his hometown of Lakeside near
                                                                        28   the San Diego River Bottom and the Sand Pits. He went to this spot because it

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                                                                         1   seemed out-of-the-way and private, such that he would not suffer the indignities and

                                                                         2   stigma of being homeless that he saw others enduring. But such was not the case.

                                                                         3      20. On or about July 3, 2023, Mr. BISHOP’s encampment was swept by the
                                                                         4   Defendants and their agents. As Mr. BISHOP watched the Defendants rummage
                                                                         5   through his belongings, he overheard one of their agents saying, “Where is the good
                                                                         6   stuff?” Defendants threw most of Mr. BISHOP’s important documents and
                                                                         7   possessions into the trash truck during this sweep, but he saw one of the Defendants’
                                                                         8   agents taking and placing a box of his more valuable belongings, apparently “the
                                                                         9   good stuff”) inside their supervisor’s truck cab. Those things were not thrown away,
                                                                        10   nor were they offered for retrieval, and they included valuable and irreplaceable
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                                                                        11   items such as his great-grandfather’s pocket-knife, his family photographs including
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                                                                        12   his children’s school pictures, jewelry, and watches. Mr. BISHOP also lost important
                                                                        13   documents that are difficult to replace (even if one is not unhoused), including his
                                                                        14   driver’s license, social security card, birth certificate, and court papers. During the
                                                                        15   time Mr. BISHOP has been unhoused, he has been harassed many times by
                                                                        16   Defendants and their agents, and been issued citations for illegal lodging (Cal. Penal
                                                                        17   Code §647(e)), while never being offered any shelter, services, or alternatives.
                                                                        18   Recently, Mr. BISHOP was provided a hotel voucher after his counsel repeatedly
                                                                        19
                                                                             requested accommodations pursuant to the Americans with Disabilities Act.
                                                                        20
                                                                             Unfortunately, Mr. BISHOP has been placed at Hotel Circle and removed from his
                                                                        21
                                                                             East County support network and community, which makes it nearly impossible for
                                                                        22
                                                                             him to receive support, assistance or to seek employment in the area where he has
                                                                        23
                                                                             connections and has long resided.
                                                                        24
                                                                                21. Plaintiff DANIEL CAPPASOLA is a resident of the County of San Diego
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                                                                             and at all relevant times herein was and now is homeless as the term is defined in
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                                                                             the Stewart B. McKinney Homeless Assistance Act, 42 U.S.C §11301 et seq.,
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                                                                             inasmuch as he lacks a fixed, regular, and adequate nighttime residence.
                                                                        28

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                                                                         1      22. After a series of tragedies including the death of his beloved grandfather, Mr.

                                                                         2   CAPPASOLA fell into a deep depression and was unable to work. He ultimately lost

                                                                         3   his driver’s license due to an unpaid ticket. The unfortunate events continued,
                                                                         4   leading him to becoming homeless and living under the highway 67 Bridge in
                                                                         5   Lakeside in June 2023, when Defendants CALTRANS and their agents CHP, SDPD,
                                                                         6   and Alpha Project descended upon his encampment for an early-morning sweep.
                                                                         7      23. Although a so-called “Notice” poster of the sweep had been placed at the site
                                                                         8   stating that any property of value found in the “sweep” would be stored for 90 days,
                                                                         9   this didn’t happen. Instead, Defendants threw all of Mr. CAPPASOLA’s personal
                                                                        10   property into a trash compactor truck. And in yet one of the many ironies of
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                                                                        11   Defendants’ actions, Defendants left actual “trash” on the ground there.
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                                                                        12      24. Mr. CAPPASOLA observed Caltrans personnel, SDPD officers, and
                                                                        13   Sheriff’s deputies sort through and place some of the most valuable items from the
                                                                        14   site into their vehicles. When he attempted to attempt to reclaim these belongings
                                                                        15   pursuant to the posted “Notice,” nothing was available or provided to him.
                                                                        16      25. Plaintiff JAMES DATTOLICO is a resident of the County of San Diego
                                                                        17   and at all relevant times herein was and now is homeless as the term is defined in
                                                                        18   the Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq.,
                                                                        19
                                                                             inasmuch as he lacks a fixed, regular, and adequate nighttime residence.
                                                                        20
                                                                                26. Mr. DATTOLICO is a native San Diegan and worked in construction and as
                                                                        21
                                                                             a welder. Unfortunately, he lost his job during Covid and has since struggled to find
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                                                                             full-time employment, and consequently became homeless.
                                                                        23
                                                                                27. Mr. DATTOLICO lives in various areas of Santee, moving constantly in
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                                                                             order to avoid harassment and “sweeps” by Defendants. His efforts are not always
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                                                                             successful, and he is repeatedly subject to such harassment and sweeps. Defendants
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                                                                             typically arrive with a large pick-up truck, with which they take all of his and others’
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                                                                             belongings while offering no notice, time, or opportunity to gather and take their
                                                                        28
                                                                             possessions. Those items, including valuables, medications, photos, and important
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                                                                         1   documents such as his driver’s license, are always taken by Defendants and trashed;

                                                                         2   never returned to him or held for recovery. During these sweeps, Mr. DATTOLICO

                                                                         3   is always told by Defendants to “move along or you’ll be cited and arrested.” But
                                                                         4   he is never told where he can go where he would not be subject to citation or arrest.
                                                                         5   Nor is he given any information about where or how to recover his seized items.
                                                                         6      28. Plaintiff CHARITY DAVIS is a resident of the County of San Diego and at
                                                                         7   all relevant times herein was and now is homeless as the term is defined in the
                                                                         8   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
                                                                         9   as she lacks a fixed, regular, and adequate nighttime residence.
                                                                        10      29. Ms. DAVIS graduated from Crawford High School and then attended S.D.
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                                                                        11   City College studying Child Development and Physical Education. Her education
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                                                                        12   was interrupted when she became pregnant and got married, but that marriage ended
                                                                        13   when her husband became abusive to her and their children. She was unable to finish
                                                                        14   her education, work, and care for the children alone, and her ex-husband’s mother
                                                                        15   was able to get the kids removed from Ms. DAVIS’ custody and move them away
                                                                        16   to Idaho. “My kids were my world,” she says. The loss of her children pushed Ms.
                                                                        17   DAVIS into a deep depression, and she found herself homeless as a result.
                                                                        18      30. Ms. DAVIS now suffers repeated harassment by Defendants for being
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                                                                             homeless. Her attempts to safely sleep, exist, and recover have been derailed by
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                                                                             Defendants’ repeated raids, sweeps, and threats of citation, arrest, and jail if she does
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                                                                             not “move along,” although she’s never been offered anyplace to “move along” to.
                                                                        22
                                                                                31. Ms. DAVIS was forced to move from an encampment in Lakeside after a
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                                                                             sweep by Defendants and their agents, including the SD Sheriff’s Department,
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                                                                             Lakeside River Park Conservancy, and Caltrans. Their sole “offer of help” was
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                                                                             telling her to “move to Santee.” However nothing changed after she did so – Ms.
                                                                        26
                                                                             DAVIS continued to experience the same problems with the authorities in Santee,
                                                                        27
                                                                             frequently without proper notice and with no offers of help or shelter. On July 19,
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                                                                             2023, without prior notice, Ms. DAVIS was awakened near the Santee river bottom
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                                                                         1   in the early morning hours by the SD Sheriff’s Department, Alpha Project, and

                                                                         2   Santee city employees. Despite her protests and requests to be allowed to gather her

                                                                         3   things, they began indiscriminately tossing all her personal belongings into a trash
                                                                         4   truck, without sorting or examining such items, which included her deceased father’s
                                                                         5   ring, her dentures, photos of her children, her bicycle, clothes, shoes, and other
                                                                         6   possessions. Ms. DAVIS tried to go inside her tent to take some of her important
                                                                         7   items but was physically prevented from doing so by a SD Sheriff’s Deputy, who
                                                                         8   then threatened her with arrest for “illegal lodging” if she didn’t leave within the
                                                                         9   hour. Defendants also took her two cats, “Shadow” and “Racquet.”
                                                                        10      32. Plaintiff JENNIFER GASKA is a resident of the County of San Diego and
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                                                                        11   at all relevant times herein was and now is homeless as the term is defined in the
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                                                                        12   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
                                                                        13   as she lacks a fixed, regular, and adequate nighttime residence.
                                                                        14      33. Ms. GASKA is a longtime resident of Lakeside and the mother of twin boys.
                                                                        15   She fell on hard times after a difficult divorce left her without steady housing or co-
                                                                        16   support. She struggles with depression, anxiety, and nightmares, making it difficult
                                                                        17   for her to get a good night’s sleep or steady work, increasing her difficulty finding
                                                                        18   services or a home. She is also forced to live in a heightened state of fight-or-flight
                                                                        19
                                                                             due to Defendants’ constant harassment, threats, and actions.
                                                                        20
                                                                                34. Ms. GASKA has had her most valued personal property taken during
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                                                                             Defendants’ sweeps. Without providing notice or any opportunity to keep, take or
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                                                                             recover any of her survival gear, blankets, food, and clothes, photographs of her
                                                                        23
                                                                             sons, her jewelry, and books, Defendants repeatedly confiscated and threw
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                                                                             everything away in a trash truck while they forced her to watch helplessly. On one
                                                                        25
                                                                             occasion, Defendants stormed into Ms. GASKA’s sleeping site early in the morning,
                                                                        26
                                                                             awakening her. She immediately needed to “relieve herself” and said so, but was
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                                                                             forced to stay at her site and forego such bathroom break. Defendants had a mobile
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                                                                             “porta-potty” with them, and she asked if she could use it.
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                                                                         1      35. Despite the “porta-potty” being unused, Defendants said “No!” and then
                                                                         2   laughed at Ms. GASKA when she could no longer hold-in and involuntarily urinated
                                                                         3   on herself.
                                                                         4
                                                                                36. Plaintiff CHRISTY GILLETTE is a resident of the County of San Diego
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                                                                             and at all relevant times herein was and now is homeless as the term is defined in
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                                                                             the Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq.,
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                                                                             inasmuch as she lacks a fixed, regular, and adequate nighttime residence.
                                                                         8
                                                                                37. Mrs. GILLETTE, age 51, is a widow and mother of two deceased children.
                                                                         9
                                                                             She worked as a waitress until 2018 when her health took a bad turn. She then lost
                                                                        10
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                                                                             her job and her residence and has been unable to find new work or housing. She is
                                                                        11
                                                                             disabled and cannot walk without the use of a metal “walker” device. She suffers
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                                                                        12
                                                                             from bipolar and schizoaffective disorders, and struggles with night terrors, which
                                                                        13
                                                                             have become aggravated by her unhoused and vulnerable situation.
                                                                        14
                                                                                38. In 2022, Mrs. GILLETTE was sleeping at a secluded public property in a
                                                                        15
                                                                             remote area near the Santee Drive-In Theater. In the early morning hours,
                                                                        16
                                                                             Defendants’ Sheriff’s Deputies descended upon her sleeping site and awakened her.
                                                                        17
                                                                             Then, they informed her that “you will be arrested if you do not leave immediately!”
                                                                        18
                                                                             They did not inform her of any opportunity to find services or a safe place to sleep.
                                                                        19
                                                                             The Deputies also refused to permit her to collect or take any of her possessions.
                                                                        20
                                                                        21
                                                                                39. Mrs. GILLETTE explained that she could not walk without her “walker” and

                                                                        22   that therefore she could not follow their instructions to “leave immediately” without

                                                                        23   it, and she asked if she could take it. The Defendants refused her request, and instead

                                                                        24   forced her to watch as they threw her “walker,” along with everything else, including

                                                                        25   her husband’s and son’s cremated ashes, into their trash bins. They did, however,
                                                                        26   helpfully repeat their threat that “We will arrest you if you don’t move along!”
                                                                        27   Without the assistance of her walker, Ms. GILLETTE was forced to crawl on the
                                                                        28   ground away from the area.

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                                                                         1
                                                                                40. In addition to her “walker,” Defendants trashed all of Ms. GILLETTE’s
                                                                         2
                                                                             clothes and blankets, and all of her documents including her State ID and social
                                                                         3
                                                                             security cards, tax forms, and birth certificates. They also took her few remaining
                                                                         4
                                                                             photos of her with her husband and son, ensuring that she had nothing left to help
                                                                         5
                                                                         6
                                                                             remember or memorialize them.

                                                                         7      41. Plaintiff STEVEN LEGGOTT is a resident of the County of San Diego and

                                                                         8   at all relevant times herein was and now is homeless as the term is defined in the

                                                                         9   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
                                                                        10   as he lacks a fixed, regular, and adequate nighttime residence.
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                                                                        11      42. Mr. LEGGOTT was born and raised in SANTEE. He’s worked as a
                                                  SAN DIEGO, CA 92101
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                                                                        12   machinist for companies such as Rohr Industries, Teledyne Ryan Aeronautical, and
                                                                        13   Kahl Scientific in El Cajon prior to the death of its owner. After the owner of Kahl
                                                                        14   Scientific passed away, the company eventually went bankrupt, and Mr. LEGGOTT
                                                                        15   found himself without employment for the first time in his life. Mr. LEGGOTT, who
                                                                        16   is disabled, was thus suddenly unable to pay for his housing, support, a car, or other
                                                                        17   necessities, and found himself living on the streets, homeless. He applied for work
                                                                        18   with, and was hired by, Home Depot, Walmart, and Target, but when they found out
                                                                        19   he had no permanent address, they fired him. Thereafter he quickly began receiving
                                                                        20   “illegal lodging” (PC §647(e)) citations from Defendants.
                                                                        21      43. In early July, 2023, Defendants swept-in to Mr. LEGGOTT’s campsite
                                                                        22   without prior notice. They refused to give him any opportunity to collect his
                                                                        23   belongings. He was forced to watch, helplessly, as they went through his belongings,
                                                                        24   kept for themselves things they felt had value, and tossed everything else into trash
                                                                        25   receptacles. A Sheriff’s Deputy threatened him, saying: “Leave or get arrested!”
                                                                        26
                                                                             They provided no notice or information of where, when, or how to recover his items
                                                                        27
                                                                             that they were taking.
                                                                        28

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                                                                         1      44. Among the items Defendants took from Mr. LEGGOTT were his tent,
                                                                         2   sleeping bag, clothing, boots, flashlights, ice box, bicycle, work tools, and cellphone.
                                                                         3   They also took and destroyed family photos, his deceased dad’s ring, and his
                                                                         4
                                                                             yearbooks from Santana High School with handwritten messages from friends and
                                                                         5
                                                                             teachers. They also took his birth certificate, social security card, and his dentures.
                                                                         6
                                                                                45. On Friday, October 6, 2023, Defendants repeated their actions, arriving at
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                                                                             Mr. LEGGOTT’s campsite in the early morning. They again threatened to arrest him
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                                                                             if he did not leave. They offered no help of any kind, and said only that if he returned
                                                                         9
                                                                             to this area, he would be arrested. He was given no advance notice of this sweep,
                                                                        10
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                                                                             and again was denied any opportunity to collect or recover his newly-acquired
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                                                                             personal belongings. Defendants again threw it all away into a large dumpster.
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                                                                        12
                                                                                46. Plaintiff TODD LENT is a resident of the County of San Diego and at all
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                                                                             relevant times herein was and now is homeless as the term is defined in the Stewart
                                                                        14
                                                                             B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch as he
                                                                        15
                                                                             lacks a fixed, regular, and adequate nighttime residence.
                                                                        16
                                                                                47. MR. LENT is a resident of Lakeside. He does his best to stay out of the
                                                                        17
                                                                             public’s sight, often sleeping under the Highway 67 Bridge or behind Burger King
                                                                        18
                                                                             off Maine Avenue. Over the past several years, Mr. LENT has been subject to
                                                                        19
                                                                             repeated sweeps and property confiscations by Defendants, without warning or
                                                                        20
                                                                        21
                                                                             opportunity to gather or keep his belongings or recover them from Defendants after

                                                                        22   confiscation. Instead, he is threatened with citation or arrest unless he “moves

                                                                        23   along!” Mr. LENT has lost multiple phones due to Defendants’ unlawful actions,

                                                                        24   along with his clothes, shoes, rain and cold weather gear, tents, his custom-made

                                                                        25   bicycle, his work tools, a Dell computer, a laptop, his birth certificate and driver’s
                                                                        26   license, his dentures, and a treasured 1953 physics book.
                                                                        27
                                                                        28   / / /

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                                                                         1      48. Plaintiff AMANDA LUTHER is a resident of the County of San Diego and
                                                                         2   at all relevant times herein was and now is homeless as the term is defined in the
                                                                         3   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
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                                                                             as she lacks a fixed, regular and adequate nighttime residence.
                                                                         5
                                                                                49. Ms. LUTHER was born and raised in SANTEE. She is the mother of two
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                                                                             young children who have been placed in foster care due to her current situation of
                                                                         7
                                                                             homelessness. Ms. LUTHER lost the apartment she was renting after she broke up
                                                                         8
                                                                             with her boyfriend and could no longer afford such, and due to financial constraints
                                                                         9
                                                                             and unaffordable rents Ms. LUTHER was unable to secure new housing for herself
                                                                        10
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                                                                             and her children.
                                                                        11
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                                                                                50. Ms. LUTHER has been repeatedly harassed and cited by the Defendants,
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                                                                        12
                                                                             including the Sheriff’s Deputies, CHP, and Santee City Workers during their sweeps,
                                                                        13
                                                                             and her pleas with them not to destroy her belongings were and are ignored.
                                                                        14
                                                                                51. When Ms. LUTHER was 7 months pregnant, Defendants impounded her
                                                                        15
                                                                             legally-parked Ford Explorer from in front of O’Reilly Auto Parts in Lakeside at
                                                                        16
                                                                             10:30 in the morning. Despite her requests, Defendants refused to allow her to take
                                                                        17
                                                                             the vehicle. At the time, Ms. LUTHER was living in the vehicle and had no money
                                                                        18
                                                                             to pay the impound fee charged by Defendants. The Sheriff’s deputy orchestrating
                                                                        19
                                                                             the impound didn’t offer any services or options, but he did take the time to inform
                                                                        20
                                                                        21
                                                                             Ms. LUTHER that she was “[A] piece of shit and you’re going to lose your child

                                                                        22   anyway!” and that “Lakeside would be a better place without you!” Ms. LUTHER

                                                                        23   was then forced to begin living outside, on public property, while pregnant.

                                                                        24      52. Ms. LUTHER resides at the San Diego River Bottom in Santee with her

                                                                        25   father and a small community of unhoused individuals who have formed a “family”
                                                                        26   to help and protect each other. She has tried to obtain reasonably habitable shelter,
                                                                        27   but without success.
                                                                        28

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                                                                         1      53. Ms. LUTHER has been repeatedly harassed by the Defendants, including the
                                                                         2   SD Sheriff’s Department, CALTRANS, Alpha Project, and the Cities of SANTEE
                                                                         3   and LAKESIDE, amongst others, for being homeless and forced to sleep outside.
                                                                         4
                                                                             During sweeps of her encampments, including those in July 2023, Defendants have
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                                                                             taken all of Ms. LUTHER’s survival gear including tents, sleeping bag, blankets,
                                                                         6
                                                                             clothes, bicycle, and food, and destroyed her ID cards and other important
                                                                         7
                                                                             documents and valuable items, including birth certificate, her daughter’s first tooth,
                                                                         8
                                                                             her son’s birth certificate, jewelry, her photographs of children and family members,
                                                                         9
                                                                             and a treasured gift from her deceased uncle, an 1888 horoscope book. Defendants
                                                                        10
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                                                                             have offered no opportunity or information about how, when, or where to recover
                                                                        11
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                                                                             the items they took from her.
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                                                                        12
                                                                                54. Plaintiff HAROLD LUTHER is a resident of the County of San Diego and
                                                                        13
                                                                             at all relevant times herein was and now is homeless as the term is defined in the
                                                                        14
                                                                             Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
                                                                        15
                                                                             as he lacks a fixed, regular, and adequate nighttime residence.
                                                                        16
                                                                                55. Mr. LUTHER was born and raised in San Diego’s East County. He is a 59-
                                                                        17
                                                                             year-old father and a grandfather. After many years working in construction, his
                                                                        18
                                                                             construction work was no longer sufficient to enable him to afford his rising rent
                                                                        19
                                                                             payments, and eventually became homeless – now more than a decade ago.
                                                                        20
                                                                        21
                                                                                56. Over the past several years, Mr. LUTHER has been harassed repeatedly by

                                                                        22   the Defendants and their agents. This has included being threatened with arrest or

                                                                        23   citation, and being told to “Move!” No reasonable prior notice of these sweeps was

                                                                        24   or is ever provided by Defendants. He has been cited and arrested for “illegal

                                                                        25   lodging” on numerous occasions and he has been forced to watch as Defendants
                                                                        26   remove and destroy his survival gear and irreplaceable belongings. Defendants have
                                                                        27   placed some of his more valuable property inside the front cabs of their trucks and
                                                                        28   patrol vehicles. None of these items has ever been made available for return to him.

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                                                                         1      57. During a July 2023 “sweep” of his homeless encampment by Defendants

                                                                         2   City of Santee, SD Sheriff’s Department, and their agents, many of Mr. LUTHER’s

                                                                         3   items taken and/or trashed by Defendants were items he had acquired with the help
                                                                         4   of Plaintiff HOPE as replacements for items previously taken by Defendants. He has
                                                                         5   had tents, work and construction tools, fishing poles, tackle boxes, sleeping bags,
                                                                         6   clothes, food, 3 scooters, and 4 motorized bicycles, amongst other items taken and
                                                                         7   thrown away by Defendants. They have also taken his irreplaceable belongings
                                                                         8   including jewelry, his father’s watch, and photographs of deceased family members.
                                                                         9      58. On November 18, 2024 Defendants and their agents and contractors in
                                                                        10   Santee were engaged in what they described as “abatement” efforts. There was no
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                                                                        11   posted or other prior “notice” of such efforts. At that time Defendants took Mr.
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                                                                        12   LUTHER’s fishing poles and tackle boxes. Mr. LUTHER attempted to recover his
                                                                        13   property taken by Defendants but such attempts were rejected.
                                                                        14      59. On these occasions, Defendants threatened Mr. LUTHER with arrest while
                                                                        15   refusing to permit him to take any of his possessions. They provided him no
                                                                        16   information about accessible services or places where he could live or sleep or store
                                                                        17   his possessions. Instead, their sole offer of “help” was: “Leave now or go to jail!”
                                                                        18      60. Plaintiff JOHNNIE “AUGIE” MARTINEZ is a resident of the County of
                                                                        19
                                                                             San Diego and at all relevant times herein was and now is homeless as the term is
                                                                        20
                                                                             defined in the Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et
                                                                        21
                                                                             seq., inasmuch as he lacks a fixed, regular, and adequate nighttime residence.
                                                                        22
                                                                                61. Mr. MARTINEZ is the father of nine children. He worked driving a forklift
                                                                        23
                                                                             at Port of San Diego for many years, but Covid hampered his employment, and two
                                                                        24
                                                                             years ago he was forced out of his home due to rising costs of living, increasing rent,
                                                                        25
                                                                             and lack of sufficient work and income to pay such. He works odd construction jobs
                                                                        26
                                                                             trying to get back on his feet and out of the cycle of homelessness. His youngest son
                                                                        27
                                                                             is on the autism spectrum and requires special educational services. Until becoming
                                                                        28
                                                                             homeless, he played an active role in his son’s life. Now he is unable to do so.
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                                                                         1      62. Since becoming homeless, Mr. MARTINEZ has been the subject of repeated
                                                                         2   sweeps by Defendants at the San Diego River Bottom in Santee. He is under the
                                                                         3   constant threat of arrest and citation for alleged “illegal lodging” and “trespassing.”
                                                                         4
                                                                             During the past year, the City of Santee has posted several purported “eviction”
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                                                                             notices near his encampment, listing “dates” on which these “evictions” would
                                                                         6
                                                                             occur. Yet, more often than not, Defendants do not come on the date(s) indicated,
                                                                         7
                                                                             and instead arrive days or weeks later without additional notice, seize all his and
                                                                         8
                                                                             others’ possessions, including survival gear and important papers, and then threaten
                                                                         9
                                                                             all of them with arrest and citation if they do not leave. And they refuse to make the
                                                                        10
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                                                                             property available for return to Mr. MARTINEZ. Instead they simply destroy it.
                                                                        11
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                                                                                63. Plaintiff JILL McCOY is a resident of the County of San Diego and at all
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                                                                        12
                                                                             relevant times herein was and now is homeless as the term is defined in the Stewart
                                                                        13
                                                                             B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch as she
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                                                                             lacks a fixed, regular, and adequate nighttime residence.
                                                                        15
                                                                                64. Ms. McCOY is a loving single mother and grandmother who graduated from
                                                                        16
                                                                             welding school and worked as a mechanic for the Nissan Body Shop in El Cajon.
                                                                        17
                                                                             She was also employed as a professional caretaker and animal keeper. She and her
                                                                        18
                                                                             adult son became unhoused shortly before Covid. While sheltering outside at the San
                                                                        19
                                                                             Diego River Bottom, Ms. McCOY suffered a stroke and was lifted by a crane for
                                                                        20
                                                                        21
                                                                             emergency medical treatment. She later learned that the Fire Department made a

                                                                        22   training video using her incident without her knowledge or consent. Since suffering

                                                                        23   the stroke, Ms. McCOY is disabled and has been unable to work due to continued

                                                                        24   debilitating conditions and symptoms that limit her ability to perform certain tasks.

                                                                        25   She has since suffered a series of additional medical setbacks that have also kept her
                                                                        26   from gainful employment, and, because Defendants offer no assistance to her or for
                                                                        27   her conditions, she is relegated to sheltering out of sight with a small community of
                                                                        28   other homeless people she can trust.

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                                                                         1      65. On or about August 4, 2023, without prior notice, Defendants “swept” Ms.
                                                                         2   McCOY’s shelter site, and didn’t offer her (or any other citizens at the location) any
                                                                         3   shelter options or services, other than “10 minutes to grab your stuff and go!” Due
                                                                         4
                                                                             to her disabilities, Ms. McCOY was unable to “grab” everything. Defendants took
                                                                         5
                                                                             her deceased son’s skateboard, a bicycle, and her only family photographs. They
                                                                         6
                                                                             also took jewelry and her valuable medications which included diabetes medicine
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                                                                             (insulin), blood pressure medicine, and the antibiotics she was prescribed. They also
                                                                         8
                                                                             took from her some small portable solar panels upon which she relied to charge her
                                                                         9
                                                                             own and others’ cellphones. Defendants provided no information on how, when or
                                                                        10
                                                                             where she could recover the items they took. They just threw it away as “trash.”
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                                                                        11
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                                                                                66. On November 27, 2024, the day before Thanksgiving, workers who
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                                                                        12
                                                                             identified themselves as San Diego COUNTY MTS employees arrived at 7:00 a.m.,
                                                                        13
                                                                             without prior notice, and began cutting into Ms. McCOY’s tent with a knife. They
                                                                        14
                                                                             then cut her tent door open and told her she had 4 hours to leave the area. Ms.
                                                                        15
                                                                             McCOY was very ill on this day and told the Defendants that she was sick and
                                                                        16
                                                                             disabled and needed to go to the hospital. They ignored her pleas and information
                                                                        17
                                                                             and proceeded to throw her possessions away, along with the now-destroyed tent,
                                                                        18
                                                                             again without providing any information for Ms. McCOY to recover such.
                                                                        19
                                                                                67. Plaintiff BRITTANY STEBBINS is a resident of the County of San Diego
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                                                                             and at all relevant times herein was and now is homeless as the term is defined in

                                                                        22   the Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq.,

                                                                        23   inasmuch as she lacks a fixed, regular and adequate nighttime residence.

                                                                        24      68. Ms. STEBBINS is the mother of two children and was a full-time server at

                                                                        25   Outback Restaurant for nine years. She was also the caretaker for her ill mother who
                                                                        26   was suffering from lupus. When she was no longer able to work full-time and care
                                                                        27   for her children and ailing mother at the same time, Ms. STEBBINS lost her job and
                                                                        28   found herself and her children unhoused and living on the streets in Lakeside. Ms.

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                                                                         1   STEBBINS faced a dilemma encountered by many single moms -- she couldn’t

                                                                         2   leave her kids home alone while she worked, but was unable to afford childcare for

                                                                         3   them in order to work. Then her children were taken from her into foster care because
                                                                         4   she wasn’t able to financially support them. Ironically, nothing similar to “foster
                                                                         5   care” was offered to Ms. STEBBINS, despite Defendants’ claims that their actions
                                                                         6   were designed to protect “our citizens’ health and safety.”
                                                                         7      69. On multiple occasions, Ms. STEBBINS’ possessions have been taken and
                                                                         8   tossed away by Defendants and their agents during relentless and repeated “sweeps”
                                                                         9   near the San Diego River Bottom in Lakeside and other locations. These sweeps
                                                                        10   occurred without any sufficient advance notice by Defendants, or any information
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                                                                        11   about when, how, or where to recover the items taken.
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                                                                        12      70. On May 17, 2023, Defendants took her survival gear and what was left of
                                                                        13   her personal belongings during a sweep at the San Diego River Bottom in Lakeside.
                                                                        14   Defendants actively prevented her from collecting anything, then confiscated and
                                                                        15   destroyed her personal property, which included her vaccination records for her and
                                                                        16   her dog, clothes, blankets, tent, her backpack, and other survival gear, along with
                                                                        17   jewelry and photographs of her children. The only “help” Defendants offered Ms.
                                                                        18   STEBBINS was a recommendation that she “Move or be arrested!”
                                                                        19
                                                                                71. Plaintiff AUSTIN WHALEY is resident of the County of San Diego and at
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                                                                             all relevant times herein was and now is homeless as the term is defined in the
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                                                                             Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
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                                                                             as he lacks a fixed, regular, and adequate nighttime residence.
                                                                        23
                                                                                72. Mr. WHALEY graduated from Granite Hills High School with honors. He
                                                                        24
                                                                             then graduated from California Institute of Automotive Technology and worked as
                                                                        25
                                                                             a Master Mechanic for over 10 years. He is also a certified smog technician.
                                                                        26
                                                                                73. In recent years, Mr. WHALEY fell on hard times because he could not afford
                                                                        27
                                                                             the rising rents in San Diego’s East County and began living out of his prized, classic
                                                                        28
                                                                             1972 Chevy Nova. Mr. Whaley had started and for a time operated a successful
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                                                                         1   mobile car mechanic business out of that vehicle, until San Diego COUNTY

                                                                         2   Sheriff’s deputies illegally impounded the car and then stole and kept it for their

                                                                         3   personal use and benefit.
                                                                         4      74. Mr. WHALEY is disabled and has been forced to live on the streets in Santee
                                                                         5   and Lakeside, and has had all of his personal effects taken from him during repeated
                                                                         6   sweeps by Defendants of his homeless encampments, the most recent of which
                                                                         7   occurred in July 2023. Defendants have taken all of Mr. Whaley’s survival gear and
                                                                         8   his irreplaceable belongings including a valuable coin collection, jewelry, and family
                                                                         9   photographs. They have never provided information about when, how, or where the
                                                                        10   items could be recovered. Out of everything Mr. WHALEY has lost, he explains,
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                                                                        11   “The worst thing is I haven’t spoken with my parents who live in Alpine for years
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                                                                        12   because of the shame I feel about being homeless.”
                                                                        13      75. Plaintiff DAVID WILLIAMS is a resident of the County of San Diego and
                                                                        14   at all relevant times herein was and now is homeless as the term is defined in the
                                                                        15   Stewart B. McKinney Homeless Assistance Act, 42 U.S.C § 11301 et seq., inasmuch
                                                                        16   as he lacks a fixed, regular and adequate nighttime residence.
                                                                        17      76. Mr. WILLIAMS has worked in construction and gardening but has been
                                                                        18   institutionalized most of his life. He is described as a “gentle giant,” and tries to stay
                                                                        19
                                                                             out of the way of the authorities because they have repeatedly taken all of his
                                                                        20
                                                                             belongings. “But just when I’m recovering and replenishing my survival gear from
                                                                        21
                                                                             the last sweep, I am subjected to another raid. I have to start all over again.”
                                                                        22
                                                                                77. Twice in June of 2022, CALTRANS conducted “trash sweeps” at the places
                                                                        23
                                                                             in Santee where Mr. WILLIAMS was sleeping. After they arrived, Defendants
                                                                        24
                                                                             actively prevented him from gathering his personal belongings, despite his requests
                                                                        25
                                                                             and attempts to do so, and forced him to watch as they tossed everything he, and
                                                                        26
                                                                             others, owned into a trash truck. They made no attempt to separate actual trash from
                                                                        27
                                                                             personal properties.
                                                                        28

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                                                                         1      78. Defendants did take the time to post a “Notice” at that site. That “Notice”
                                                                         2   read:
                                                                         3
                                                                                              “To reclaim personal property call __________.
                                                                         4
                                                                                              Failure to reclaim property by 9-1-2022 will result
                                                                         5                    in its disposal.”
                                                                         6
                                                                                B. Defendants.
                                                                         7
                                                                                79. Defendant COUNTY OF SAN DIEGO (“COUNTY”) is a public entity
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                                                                             existing under the laws of the State of California and is the operator and employer
                                                                         9
                                                                             of the SAN DIEGO SHERIFF’S DEPARTMENT (“SDSD”) and its Deputies,
                                                                        10
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                                                                             and is liable for all the actions of SDSD and its other agencies and entities and
                                                                        11
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                                                                             personnel referenced herein. The County’s Code Compliance Team is responsible
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                                                                        12
                                                                        13   for enforcement of codes and ordinances in the unincorporated areas of the County,

                                                                        14   which include the areas known as the CITY OF LAKESIDE.

                                                                        15      80. Defendant CITY OF LAKESIDE (“LAKESIDE”) is an unincorporated

                                                                        16   community in Eastern San Diego County. According to its Chamber of Commerce
                                                                        17   website, LAKESIDE is a “census-designated place” founded in 1886 and governed
                                                                        18   by the COUNTY. LAKESIDE’s law enforcement agency is the SDSD LAKESIDE
                                                                        19   DIVISION and its Deputies, who are sometimes joined by CALTRANS and other
                                                                        20   local law enforcement departments during “sweeps” of homeless people.
                                                                        21      81. Defendant CITY OF SANTEE (“SANTEE”) is a duly organized city
                                                                        22   located in Eastern San Diego County. SANTEE’s law enforcement needs are served
                                                                        23   by SDSD and its deputies, who are also sometimes accompanied by SDSD Homeless
                                                                        24   Assistance Response Team (“HART”) to execute their “sweeps” of homeless living
                                                                        25   spaces within its jurisdiction. SANTEE also contracts with and controls and directs
                                                                        26   the activities of private homeless services agencies such as Alpha Project and PATH
                                                                        27   (“People Assisting the Homeless”) to assist with, and engage in, its “sweeps”
                                                                        28   activities, and property destruction and “trash” collection efforts.
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                                                                         1      82. Defendant CITY OF SAN DIEGO is a municipal corporation organized,

                                                                         2   acting, and existing under the laws of California which, through its agents, including

                                                                         3   the San Diego Police Department (“SDPD”), arrests, cites, detains, and otherwise
                                                                         4   sweeps, chases away and punishes homeless people pursuant to its Municipal Code
                                                                         5   and other laws. In addition to its actions within its City limits, it also owns, operates,
                                                                         6   and controls actions within several parcels of real estate outside its City limits which
                                                                         7   are located in East San Diego County areas in and around SANTEE and LAKESIDE,
                                                                         8   including properties along Woodside Avenue, Lakeside Avenue, Timber Road, and
                                                                         9   Willow Road (https://sandiego.maps.arcgis.com/apps/webappviewer/index.html?id
                                                                        10   =7cace2f50ec7459e84acaa98345c2806. It is the City of San Diego’s actions on and
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                                                                        11   in connection with those parcels which are subjects of this action.
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                                                                        12      83. Defendant TONY TAVERAS is the Director of the California Department
                                                                        13   of Transportation (“CALTRANS”) and in that capacity is responsible for the proper
                                                                        14   enforcement, operation and execution of all duties and obligations vested by law in
                                                                        15   that agency. CALTRANS is and was at all times herein a public entity and an
                                                                        16   executive department of the State of California, created and existing under the laws
                                                                        17   of the State of California, operating in the County of San Diego. It is part of the
                                                                        18   cabinet-level California State Transportation Agency and manages the State’s
                                                                        19
                                                                             highway system and properties adjacent thereto. Defendant TAVERAS is sued only
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                                                                             in his individual official capacity and only for violations of Federal law.
                                                                        21
                                                                                84. Defendant ANN FOX is the CALTRANS District 11 Director, and as such
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                                                                             has full responsibilities for all functions and activities within District 11, and is
                                                                        23
                                                                             responsible for the proper administration and operation of all CALTRANS programs
                                                                        24
                                                                             and obligations within District 11 boundaries, including the development and
                                                                        25
                                                                             implementation of all polices and activities therein. District 11 includes all of San
                                                                        26
                                                                             Diego and Imperial counties. Defendant FOX is sued only in her individual official
                                                                        27
                                                                             capacity. Together Defendants TAVERAS and FOX and their agents, employees
                                                                        28
                                                                             and contractors may be referred to herein as the “CALTRANS DEFENDANTS.”
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                                                                         1       85. Defendants regularly work together to summon, utilize, direct, and
                                                                         2   orchestrate the assistance, support, and participation of CALTRANS, SDSD, SDPD,
                                                                         3   CHP, and other entities and agents, deputies, and personnel in taking the actions
                                                                         4
                                                                             alleged herein.
                                                                         5
                                                                                 86. At all times, the DEFENDANTS acted together and in concert with, and at
                                                                         6
                                                                             the beck-and-call of, one or more of the other DEFENDANTS and their agents,
                                                                         7
                                                                             employees, deputies, contractors, and personnel in committing the actions alleged
                                                                         8
                                                                             herein.
                                                                         9
                                                                                 87. Plaintiffs are informed and believe that the Defendants sued herein as DOE
                                                                        10
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                                                                             DEFENDANTS 1 - 48 are and were officers, employees, contractors, and/or other
                                                                        11
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                                                                             agents of the other Defendants, who aided, abetted, assisted, and/or otherwise helped
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                                                                        12
                                                                             plan, organize, orchestrate or carry out the actions alleged here. Plaintiffs are
                                                                        13
                                                                             ignorant of the true names and capacities of the Defendants sued herein as DOES 1
                                                                        14
                                                                             - 48 and therefore sue those Defendants by fictitious names. Plaintiffs will seek leave
                                                                        15
                                                                             of the Court to amend this complaint to allege their true names when ascertained.
                                                                        16
                                                                             Plaintiffs are informed and believe that each of these actors is liable for and
                                                                        17
                                                                             participated in the injuries and violations of the laws and rights alleged herein.
                                                                        18
                                                                                                                                 FACTS
                                                                        19
                                                                                 88. This case arises out of official and ongoing illegal policies and practices by
                                                                        20
                                                                        21
                                                                             Defendants of chasing homeless people from their jurisdictions by sweeping and

                                                                        22   raiding sleeping areas and confiscating and destroying the personal property of

                                                                        23   unhoused people who are Citizens of, and reside in, San Diego’s East County

                                                                        24   without offering them any opportunity to retain, claim, or recover their property.

                                                                        25       89. San Diego has earned an ominous position, having the fourth largest
                                                                        26   homeless population in the country.9 The escalating homeless crisis in San Diego
                                                                        27   9 In 2023 San Diego County had the second largest number of people experiencing homelessness
                                                                        28   (PEH) in California and the fourth largest number of PEH in the United States (County of San
                                                                             Diego HHS Report, August 2024 - https://www.google.com/url?client=internal-element-
                                                                             cse&cx=015466730696295969998:wokiau6kw8k&q=https://www.sandiegocounty.gov/content/dam/sdc/hhsa/progr
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                                                                         1   County is directly linked to the lack of affordable housing. As of 2014, the median

                                                                         2   rental cost of a studio apartment in San Diego was 110% of the amount of an SSI

                                                                         3   check, which at the time was less than $900 a month.10 In 2024, the maximum
                                                                         4   monthly SSI payment for an individual is $943 and $1,415 for a couple.
                                                                         5        90. In San Diego’s East County, competition for lower-income housing is high.
                                                                         6   Renting an apartment or home depends not only on the cost, but how good your
                                                                         7   credit score is. Landlords receive numerous applications from interested renters and
                                                                         8   select only those tenants with good references, high credit scores, and higher
                                                                         9   incomes. This leaves those surviving on limited income without many options. It is
                                                                        10   not unusual for children to remain living at their parents’ residence and for different
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                                                                        11   generations of family members to live in the same household because they cannot
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                                                                        12   afford places of their own.
                                                                        13        91. A recent study found that San Diego County needs 137,537 more affordable
                                                                        14   rental homes to meet regional demand – and that the majority of the region’s low-
                                                                        15   income renters are spending more than half their income on housing. According to
                                                                        16   a report by the California Housing Partnership and San Diego Housing Federation,
                                                                        17   renters need to earn $47.67 an hour to afford monthly average rent of $2,479.11 In
                                                                        18   addition, the demand for housing subsidies far exceeds supply. There exists a 10 to
                                                                        19
                                                                             12 year waiting list for Section 8 housing vouchers, with over 600,000 persons on
                                                                        20
                                                                             that list alone. The very small amount of existing affordable or subsidized housing
                                                                        21
                                                                             is also plagued by long waiting lists.12
                                                                        22
                                                                        23
                                                                             ams/phs/CHS/Persons%2520Experiencing%2520Homelessness%2520in%2520SDC_8.12.24.pdf&sa=U&ved=2ah
                                                                        24   UKEwiphaSUq9qKAxXbHkQIHa5tFk8QFnoECAsQAQ&usg=AOvVaw0OwCpiVcxIyKwmW82kaTjX&fexp=72
                                                                             801196,72801194,72801195).
                                                                        25   10 Emily Cooper et al., “Priced Out in 2014: The Housing Crisis for People with Disabilities,”
                                                                        26   Technical Assistance Collaborative (June 2015) (https://www.advancingstates.org/
                                                                             hcbs/article/priced-out-2014).
                                                                        27   11 “Morning Report: The County’s Big Affordable Housing Gap.” Voice of San Diego (May 10,
                                                                        28   2024) (https://voiceofsandiego.org/2024/05/10/san-diego-countys-big-affordable-housing-gap/).
                                                                             12 Russell, Stephen. “The Affordable Housing Crisis in San Diego: How Do We Meet the Need?”
                                                                             San Diego Housing Federation (January 25, 2017).
                                                                                         Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB 29
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                                                                         1        92. San Diego County’s latest homelessness census shows the homelessness

                                                                         2   crisis has hit a new record in 2024, and "East County has the second highest number

                                                                         3   of people experiencing homelessness outside of the City of San Diego…. We have
                                                                         4   very few emergency shelter beds.”13
                                                                         5        93. These statistics make it abundantly clear that there exists a direct correlation
                                                                         6   between the rise in housing costs and the number of homeless people. Despite the
                                                                         7   obvious need for more, and more affordable, housing, Defendants’ actions
                                                                         8   demonstrate their dehumanizing animus towards the unhoused Citizens in their
                                                                         9   communities. Instead of taking measures, mandated by law, to remedy the
                                                                        10   deficiencies and address root causes of homelessness, such as creating safe places
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                                                                        11   for homeless people to sleep, connect with services, and store their possessions,
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                                                                        12   Defendants concentrate their efforts solely on chasing homeless people out of sight.
                                                                        13        94. Defendants’ actions fail to comply with, and are intentionally and directly
                                                                        14   contrary to and subversive of, their duties and obligations required by Welfare &
                                                                        15   Institutions Code §17000 and §10000 to “relieve and support all incompetent, poor,
                                                                        16   indigent persons, and those incapacitated by age, disease, or accident” residing in
                                                                        17   the County and to “provide for protection, care, and assistance to the people of the
                                                                        18   state in need thereof, and to promote the welfare and happiness of all of the people
                                                                        19
                                                                             of the state by providing appropriate services to all of its needy and distressed.”
                                                                        20
                                                                                  95. Defendants do so by engaging in a campaign of terror against the unhoused
                                                                        21
                                                                             residents within their communities as part of their ongoing efforts to rid themselves
                                                                        22
                                                                             of homelessness in a series of well-planned, ruthlessly executed raids and “sweeps”
                                                                        23
                                                                             designed to harass and threaten homeless people in order to get them to “move
                                                                        24
                                                                             along.” Defendants’ message is clear: “Go somewhere else!”
                                                                        25
                                                                        26   13 Halverstadt, Lisa. “Homelessness Spikes Again in San Diego County,” Voice of San Diego,
                                                                        27   (May 22, 2024) https://voiceofsandiego.org/2024/05/22/homelessness-spikes-again-in-san-diego-
                                                                             county/; and see Ramirez, Jasmine. “Residents concerned over 150 sleeping cabins coming to
                                                                        28   Spring Valley to help homeless.” CBS 8 (May 8, 2024). San Diego County approves 150 cabins
                                                                             for unhoused people | cbs8.com
                                                                                         Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   30
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                                                                         1        96. In order to achieve their goal of forcing homeless people to “Go somewhere

                                                                         2   else,” Defendants confiscate Plaintiffs’ critical survival gear and personal

                                                                         3   belongings without offering any opportunity for Plaintiffs to retain or reclaim it.
                                                                         4   These property items are “taken” or destroyed without warrant, reasonable cause, or
                                                                         5   exigent circumstance. Further, despite their contrary legal obligations and
                                                                         6   representations, Defendants fail to safeguard any of Plaintiffs’ property for later
                                                                         7   retrieval, in direct conflict with Defendants’ own written policies and knowledge, as
                                                                         8   well as, State and Federal laws and well-established court rulings, that such actions
                                                                         9   are illegal (see, i.e., Lavan v. City of Los Angeles, 693 F.3 1022 (2012)).14
                                                                        10        97. Defendants’ stated justifications for their actions – “health & safety,”
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                                                                        11   “wildfire risk,” “environmental issues” – are a ruse designed to justify a false notion
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                                                                        12   of legitimacy. The purpose and intent of these “sweeps” by Defendants is to harass,
                                                                        13   intimidate, threaten, and ultimately “chase-away” unhoused people from San
                                                                        14   Diego’s East County jurisdictions, despite the fact that they have nowhere to go.
                                                                        15        98. Defendants “chase away” homeless people by depriving them of places to
                                                                        16   be and items that are critical to their survival and ability to live, such as clothing,
                                                                        17   tents, blankets, food, work tools, and prescription medications, leaving Plaintiffs
                                                                        18   even more destitute and vulnerable. Defendants also destroy Plaintiffs’ irreplaceable
                                                                        19
                                                                             and intimate personal items such as family photographs, jewelry, and even the ashes
                                                                        20
                                                                             of deceased relatives, while actively preventing Plaintiffs and Class Members from
                                                                        21
                                                                             gathering these important belongings before leaving. Defendants’ actions have the
                                                                        22
                                                                             intended effect of increasing the danger to Defendants’ “health and safety,” thus
                                                                        23
                                                                             giving the lie to Defendants’ purported justifications for such actions, and
                                                                        24
                                                                             undermining their legal obligations to assist the poorest of the poor.
                                                                        25
                                                                        26   14 See also, i.e.: Cal. Civ. Code §2080 et seq; Pottinger v. City of Miami, 801 F. Supp. 1551 (SD
                                                                        27   FL 1992); US v. Gooch, 6 F.3d 673,677 (9th Cir. 1993); Kincaid v. City of Fresno, 2006 WL
                                                                             3542732 (ED Cal. 12/8/2006); and City of San Diego Settlement/Order, Isaiah Project v. City of
                                                                        28   San Diego, USDC, S.D. Cal #08cv2699 BTM (WVG); Defendants’ Notices to Vacate indicating
                                                                             Individual Plaintiffs may pick up their personal property within 90 days.
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                                                                         1        99.    In addition, Plaintiffs have observed that some of their more valuable

                                                                         2   property is actually stolen and kept for personal profit and gain by Defendants’

                                                                         3   workers, contractors, and personnel who place such property inside their personal
                                                                         4   trucks or patrol vehicles. Plaintiffs’ counsel has made Defendants aware of this, yet
                                                                         5   no investigation or cessation of these theft activities has occurred.
                                                                         6        100.       Defendants sometimes place signs near the sites of their sweeps
                                                                         7   claiming to provide “72 Hour Notice of Cleanup and Property Removal.” These
                                                                         8   notices state that “Personal property that is sanitary and saleable or useable or
                                                                         9   otherwise reasonably appears to be of value will be stored for 90 days…[and] can
                                                                        10   be claimed by calling _____, Monday through Friday from 7:00 a.m. to 2:00 p.m.”
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                                                                        11   But these signs are just for “show” -- often they contain no telephone number, but
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                                                                        12   instead contain only blank lines. On the rare occasions when phone numbers are
                                                                        13   listed, they aren’t answered by Defendants anyway. 15
                                                                        14        101.        These posted signs are used by Defendants only to proffer the illusion
                                                                        15   that Notice is being given and rules are being followed. The “Notice” times stated
                                                                        16   on the signs are not adhered to; Defendants fail to keep or store any of Plaintiffs’ or
                                                                        17   Class Members’ property or make it available for retrieval or claiming.
                                                                        18        102.        Defendants’ raids and “sweeps” begin when they arrive with large
                                                                        19
                                                                             trash compactor trucks, into which they immediately begin tossing Plaintiffs’
                                                                        20
                                                                             personal property. Defendants then threaten Plaintiffs with citation and/or arrest if
                                                                        21
                                                                             they do not immediately “move along.” Plaintiffs are given no opportunity to gather
                                                                        22
                                                                             their belongings, despite requesting such. Plaintiffs are forced to watch as everything
                                                                        23
                                                                             they own is trashed, while Defendants hurl insults, profanities, and slurs.
                                                                        24
                                                                        25   15   On May 31, 2023, Plaintiffs’ counsel called the phone number listed on Defendants’ “Notice.”
                                                                        26   An agent of Defendants answered the call and informed counsel that they “do not handle such
                                                                             matters in their jurisdiction,” and told counsel to “contact Kelly Gower at 858-492-5012.” Counsel
                                                                        27   called and left a voicemail message as instructed. A week later, on June 7, 2023, Counsel, having
                                                                             received no callback, called the number again and left another message referencing the posted
                                                                        28   “Notice.” On June 12, 2023, Counsel received a voicemail saying: “Do not call back again.”

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                                                                         1        103.       Counsel first attempted to intercede on behalf of Plaintiffs in June 2022,
                                                                         2   in an attempt to convince Defendants to cease these illegal activities and avoid this
                                                                         3   litigation. However, Defendants rejected these attempts, and instead continued to
                                                                         4
                                                                             ruthlessly execute these “sweeps” and destroy Plaintiffs’ personal property in
                                                                         5
                                                                             knowing disregard of laws protecting Plaintiffs’ property from such actions.
                                                                         6
                                                                                  104.       For example, on June 1, 2022, CALTRANS posted a Notice to Vacate
                                                                         7
                                                                             near the Highway 67 Bridge in Lakeside, stating that Plaintiff Class Members had
                                                                         8
                                                                             until Monday, June 6th to vacate and remove their belongings. However, on
                                                                         9
                                                                             Thursday, June 2nd, CALTRANS arrived early and forced all the unhoused people
                                                                        10
                                                                             to “move along” or “be arrested.” Although the Notice indicated that those impacted
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                                                                        11
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                                                                             could retrieve their personal property until September 1, 2022, in reality, nothing
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                                                                        12
                                                                             was kept as CALTRANS, aided by CHP officers, tossed everything into a trash
                                                                        13
                                                                             crusher truck and destroyed it. There was nothing left to “claim” or retrieve.
                                                                        14
                                                                                  105.       CALTRANS justified this “sweep operation” under the guise of
                                                                        15
                                                                             “wildfire risk,” claiming their actions were necessary due to “imminent risk of
                                                                        16
                                                                             wildfires” caused by the conditions there. Yet, after CALTRANS’ cleanup crews
                                                                        17
                                                                             took and destroyed all of the unhoused individuals’ personal belongings, they cut
                                                                        18
                                                                             down all the shrubbery in the area and left it there in piles, where it dried out for
                                                                        19
                                                                             weeks and became the highly combustible and dangerous “imminent wildfire risk”
                                                                        20
                                                                        21
                                                                             they were purporting to eliminate.

                                                                        22        106.       CALTRANS has entered into at least two class action settlements in

                                                                        23   which it has agreed that its actions sweeping and immediately destroying people’s

                                                                        24   property were illegal, and further agreed to comply with statewide injunctions

                                                                        25   preventing such actions in the future.16 Yet CALTRANS continues such actions.
                                                                        26   16  Kincaid v. City of Fresno, 06-CV-1445 OWW (Eastern Dist. of Cal., Fresno Div); Judge Oliver
                                                                        27   W. Wanger stated during oral argument that “the practice of announce, strike, seize [and] destroy
                                                                             immediately is against the law.” (https://www.aclunc.org/our-work/legal-docket/kincaid-v-city-
                                                                        28   fresno). Similarly, CALTRANS has failed to comply with its similar July 14,2020 settlement
                                                                             obligations preventing such conduct in Sanchez v. Caltrans, Alameda Sup. Court #R616842117
                                                                             (https://www.aclunc.org/our-work/legal-docket/sanchez-v-california-department-transportation)
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                                                                         1      107.       Since Plaintiff’s counsel first began monitoring Defendants’ sweeps
                                                                         2
                                                                             and property destruction, there have been numerous encounters between Class
                                                                         3
                                                                             Members and Defendants. Only once were Class Members purportedly permitted to
                                                                         4
                                                                             attempt to “retrieve” their personal property. This took place after an “agreement”
                                                                         5
                                                                             was reached in which SANTEE’s City Attorney agreed that Defendants would store
                                                                         6
                                                                             and make available for retrieval by Plaintiffs the property items that Defendants had
                                                                         7
                                                                             taken in a scheduled sweep at the San Diego River Bottom in late August 2023.
                                                                         8
                                                                                108.       However, when Plaintiffs arrived at SANTEE’s designated “pickup”
                                                                         9
                                                                             location on September 5, 2023, they found that SANTEE’s offer was bogus. All of
                                                                        10
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                                                                             their property taken by Defendants had been damaged, destroyed, and dumped into
                                                                        11
                                                                             a large “trash dump pile” rather than stored and retained in the conditions in which
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                                                                        12
                                                                             it had been taken. Clothing and smaller items were commingled and stuffed
                                                                        13
                                                                             randomly inside trash bags; bicycles had been twisted, bent and crushed, as if they
                                                                        14
                                                                             had been run through trash-compactor-trucks. Plaintiffs’ valuable property was not
                                                                        15
                                                                             there. Somewhere beneath those piles also lay the mangled, discarded, and
                                                                        16
                                                                             disregarded laws, rules, and promises which should have prevented such activities
                                                                        17
                                                                             by Defendants.
                                                                        18
                                                                                109.       Defendants ramped-up their “Cleaning” activities designed to continue
                                                                        19
                                                                        20
                                                                             pushing unhoused residents “anywhere else” and out of sight. In an effort to avoid

                                                                        21   such encounters, Plaintiffs and Class Members have been forced to relocate to

                                                                        22   remote bridges under Highway 67 and public property along the San Diego River

                                                                        23   Bottom where they have a chance to be “unseen.” These areas are unsuitable for

                                                                        24   habitation, exposing the unhoused to dangerous and inclement conditions such as
                                                                        25   flash flooding and mosquito infestations.
                                                                        26      110.       San Diego’s East County has no homeless shelters or hotel voucher
                                                                        27   programs. None of the Defendants offer any services, help, shelter, or storage
                                                                        28   locations. Defendants in effect make it their express policy to exhibit extreme

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                                                                         1   hostility towards homeless people, such as directing homeless people to leave and

                                                                         2   go to another city, while deliberately avoiding the creation of any shelters or

                                                                         3   assistance programs, in order to discourage homeless citizens from “being” there.
                                                                         4   Defendants target their removal and property destruction activities against homeless
                                                                         5   citizens when temperatures dip into the low 30’s or when the unhoused are
                                                                         6   recovering from devastation caused by flooding that results from storms, and during
                                                                         7   times when temperatures rise above 100 degrees. Defendants have also installed
                                                                         8   jagged-edged rocks beneath bridges to prevent people from sheltering there.
                                                                         9      111.       More recently, on Tuesday, April 12, 2024, Defendant CITY OF SAN
                                                                        10   DIEGO posted “24-Hour Notice of Cleanup and Removal” on one of the East
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                                                                        11   County properties it owns, purporting to provide 24 hours for the unhoused people
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                                                                        12   living near the Lakeside Open Space to “move.” The Notices were stapled, not taped,
                                                                        13   directly to Plaintiffs’ tents, tearing holes in their only shelters from the elements.
                                                                        14      112.       Plaintiffs’ counsel made several calls that day, starting with the phone
                                                                        15   number posted on the Notice which indicates that the City of San Diego would store
                                                                        16   Plaintiffs belongings for later retrieval. The next day the City’s Environmental
                                                                        17   Services Department, accompanied by four SDPD officers, arrived early and began
                                                                        18   trashing Class Members’ property without sorting, evaluation or review. They saved
                                                                        19
                                                                             nothing for later retrieval, despite the contrary language on their “sweep” notices,
                                                                        20
                                                                             and made no effort to determine what was, or was not, actual “trash.”
                                                                        21
                                                                                113.       Cleanup crews engaged as agents of the CITY OF SAN DIEGO,
                                                                        22
                                                                             including Urban Corps of San Diego County and Alpha Project employees, were
                                                                        23
                                                                             also involved to assist in throwing items away. One of the SDPD officers present,
                                                                        24
                                                                             Officer Brent (badge number 5572), expressed two false tropes that Defendants
                                                                        25
                                                                             performing these “sweeps” often use to label homeless people in order to justify such
                                                                        26
                                                                             actions – that homeless people are “criminals and drug addicts” and that they are
                                                                        27
                                                                             “choosing not to work.” Such statements and opinions are not supported by the
                                                                        28
                                                                             evidence. In fact, “Nationally, unhoused people with such problems are in the
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                                                                         1   minority: 21 percent struggle with a serious mental health illness; 16 percent with

                                                                         2   substance abuse.”17

                                                                         3        114.       Defendants had arrived with two large trash-crusher trucks, but no
                                                                         4   transport vehicles to collect or store any of Plaintiffs’ critical survival gear or
                                                                         5   important personal belongings. It was very clear that Defendants had no intent to
                                                                         6   follow the law requiring them to collect and safeguard Plaintiffs’ belongings for later
                                                                         7   retrieval. Community advocates were able to limit Defendants’ activities that day to
                                                                         8   trash cleanup only, but Kelly Gower of the CITY OF SAN DIEGO Environmental
                                                                         9   Services Department (“SDESD”) made it abundantly clear that they planned to
                                                                        10   return the following morning to take everything else, saying: “We can take all of this
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                                                                        11   … most of this stuff is stolen or discounted or whatever.” – another false trope used
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                                                                        12   by Defendants as bogus justification for their knowingly-illegal acts.
                                                                        13        115.       Soon Ms. Gower (who had previously failed to return solicited phone
                                                                        14   calls – see Footnote 15 above) and the SDPD officers present were socializing and
                                                                        15   laughing while the unhoused people were packing up their important belongings in
                                                                        16   a frantic effort to avoid their destruction. It was business as usual for Defendants,
                                                                        17   who made no offers of shelter or services while violating the law, their own rules,
                                                                        18   and prior Court Orders and Settlement Agreements (see, i.e., Isaiah Project v. City
                                                                        19
                                                                             of San Diego, supra, Footnote 14 above) prohibiting such actions.
                                                                        20
                                                                                  116.       Defendants had and have no intention of collecting Plaintiffs’ personal
                                                                        21
                                                                             property and safeguarding it and making it available for retrieval by Plaintiffs during
                                                                        22
                                                                             their ongoing “sweeps.” Once Plaintiffs’ property is “seized” there is no procedure
                                                                        23
                                                                             available for them to retrieve their property. Defendants destroy Plaintiffs’ property
                                                                        24
                                                                             regardless of the fact that it has value to its owners, solely for the purpose of chasing
                                                                        25
                                                                             these people “away.”
                                                                        26
                                                                        27
                                                                             17
                                                                        28       See, Rosenthal, Tracy. The New Republic, Unusual Cruelty: The New Sundown Towns (April
                                                                             30. 2024) (https://newrepublic.com/article/181036/new-sundown-towns-grants-pass-v-johnson)
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                                                                         1        117.       Defendants’ actions criminalizing homelessness “restrict one’s ability

                                                                         2   to engage in necessary life-sustaining activities in public, even when that person has

                                                                         3   no reasonable alternative.”18
                                                                         4        118.       Defendants’ refusal to provide sufficient affordable housing and shelter
                                                                         5   is a well-documented bureaucratic failure, which causes and exacerbates the
                                                                         6   homelessness crisis. East County’s approximately 1,700 unhoused residents account
                                                                         7   for 20% of San Diego County’s growing homeless population according to the
                                                                         8   Regional Task Force on Homelessness (“RTFH”).19
                                                                         9        119.       Supervisor Terra Lawson-Remer, who represents the County of San
                                                                        10   Diego on the Regional Taskforce for Homelessness Continuum of Care Advisory
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                                                                        11   Board herself acknowledged that “[they] can do a better job of providing the right
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                                                                        12   kind of help based on people’s unique problems, or better yet, make sure they never
                                                                        13   lose their home in the first place.”20 According to former San Diego City Council
                                                                        14   President Sean Elo-Rivera: “We must take every opportunity, explore every idea and
                                                                        15   do all we can to house the unsheltered and prevent more San Diegans from falling
                                                                        16   into homelessness. Housing is a human right….”21
                                                                        17
                                                                        18
                                                                        19   18  See Herring & Yarbrough (documenting consequences of criminalizing homeless people
                                                                             through move-along orders, citations, and threats, and how that drives people further into poverty)
                                                                        20   Social Problems, Volume 67, Issue 1, February 2020, Pages 131–149 (pub. 3/29/19)
                                                                             https://static1.squarespace.com/static/5b391e9cda02bc79baffebb9/t/5cc1c0569140b7fb43b1af44/
                                                                        21   1556201561950/Pervasive+Penality+social+problems+(1)+(1).pdf; Katrina Ballard & Samantha
                                                                             Batko, Three Ways Communities Can Promote Inclusive Public Space and Better Support People
                                                                        22   Forced to Live Outside, URBAN INST. (8/7/20), https://www.urban.org/urban-wire/three-ways-
                                                                             communities-can-promote-inclusive-public-space-and-better-support-people-forced-live-outside
                                                                        23
                                                                             19  20% of Region’s Homeless Now Live in East County, New Data Shows, The San Diego Union
                                                                        24   Tribune, Blake Nelson (May 21, 2022) (https://www.sandiegouniontribune.com/communities/
                                                                             east-county/story/2022-05-21/20-of-regions-homeless-now-live-in-east-county-new-data-shows)
                                                                        25   20  2022 Point in Time Count Data Release, S.D. Regional Task Force on Homelessness (5/23/22)
                                                                        26   (https://www.rtfhsd.org/updates/2022-point-in-time-count-data-released/).

                                                                        27
                                                                             21   Id. And see, Rebecca Louis, CEO, Wakefield Housing: “Opinion: Affordable Housing is in a
                                                                             state of emergency. Let’s Act Accordingly.” San Diego Union Tribune (June 3, 2024)
                                                                        28   (https://www.sandiegouniontribune.com/opinion/commentary/story/2024-06-03/opinion-
                                                                             housing-shortage-an-emergency-lets-act-like-it
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                                                                         1        120.       Unfortunately, they don’t. Instead, Defendants simply hide the

                                                                         2   problems by chasing homeless people out of sight.22

                                                                         3        121.       Since the Defendants have systematically neglected to invest in
                                                                         4   adequate shelter and successful service programs for its unhoused residents, those
                                                                         5   experiencing homelessness are enduring “lasting trauma that makes resolution more
                                                                         6   costly – and delayed resolution more inhumane.”23 In the past two years alone, the
                                                                         7   number of persons experiencing homelessness in San Diego County has steadily
                                                                         8   risen. In March 2024, there were 1,226 unhoused persons in San Diego County’s
                                                                         9   unincorporated areas, and 1,337 became newly unhoused. According to Jennifer
                                                                        10   Nations, Managing Director of the Homelessness Hub research lab at UC San Diego,
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                                                                        11   “There’s just not enough housing at a price point that people can afford.”24
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                                                                        12        122.       Despite the mounting evidence that the lack of affordable housing is the
                                                                        13   driving force for the rise in homelessness, and that there are nowhere near enough
                                                                        14   shelter spaces to offer to those experiencing homelessness, the County and Cities
                                                                        15   continue to enact more laws that criminalize homelessness. In 2023, SANTEE
                                                                        16   enacted a slew of new ordinances that expressly seek to punish unhoused individuals
                                                                        17   for sleeping, lying down, camping, or storing their belongings on public property
                                                                        18   within its jurisdiction. SANTEE appears emboldened by its new measures and has
                                                                        19
                                                                             increased its enforcement efforts against its unhoused Citizens in 2024.
                                                                        20
                                                                        21   22  Indeed, after enacting a new law aimed to rid Santee of its unhoused community by chasing
                                                                        22   them away and doing nothing else, Santee's mayor, John Minto, claimed that the new ordinance
                                                                             "[D]oes not punish somebody for being homeless…But what it does is, it gives us the ability to
                                                                        23   protect our communities. They can go anywhere else, they just can't stay there." See, Santee
                                                                             cracking down on homeless encampments along San Diego River | cbs8.com (1/17/2023).
                                                                        24   23  Covert, Adrian and Funk, Elizabeth. Opinion: On Homelessness, Focus on Bringing People
                                                                        25   Indoors and Saving Lives. San Diego Union Tribune (April 17, 2024)
                                                                             (https://www.sandiegouniontribune.com/opinion/commentary/story/2024-04-17/homelessness-
                                                                        26   focus-on-bringing-people-indoors-and-saving-lives).

                                                                        27
                                                                             24 Nelson, Blake. “Homelessness in San Diego County Has Now Risen Every Month for 2 Straight
                                                                             Years.” San Diego Union Tribune (April 17, 2024). (https://www.sandiegouniontribune.com
                                                                        28   /news/homelessness/story/2024-04-17/homelessness-in-san-diego-county-has-now-risen-every-
                                                                             month-for-2-straight-years)
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                                                                         1      123.       Instead of creating housing, shelter, and other aid and/or efforts to
                                                                         2   alleviate homelessness, Defendants have increased their creation and enforcement
                                                                         3   of the following Municipal Codes, Local Ordinances, and State Penal Code sections
                                                                         4
                                                                             against the unhoused in their communities:
                                                                         5
                                                                                   Local Ordinances and Municipal Codes
                                                                         6
                                                                         7         a. San Diego County Code §67.804 Discharge Prohibitions (criminalizing
                                                                                      the use of any materials or wastes on public or private lands in a manner
                                                                         8            and place where they may result in a discharge to water).
                                                                         9         b. San Diego County Code §68.503 Unlawful Deposit of Discarded
                                                                                      Materials in Public or Private Places (criminalizing the deposit of waste
                                                                        10            on streets, highway, parks, or campgrounds, or any public or private
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                                                                        11            property as a nuisance);
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                                                                                   c. San Diego County Code §73.111 Obstruction of Public Ways
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                                                                        12            (criminalizing a person for standing or sitting in public areas dedicated
                                                                        13            for public use in any manner that obstructs its free use);
                                                                                   d. San Diego County Code §73.108 Public Parks (criminalizing camping in
                                                                        14
                                                                                      any public park, street, or unimproved property owned or leased by the
                                                                        15            County). Camping is defined as the use of any public park, any public
                                                                                      street or highway or improved or unimproved property owned or leased
                                                                        16
                                                                                      by the County, for temporary living accommodations such as, but not
                                                                        17            limited to, sleeping, sleeping activities, or making preparations to sleep,
                                                                                      including the laying down of bedding for the purposes of sleeping, or
                                                                        18
                                                                                      storing personal belongings, or making any fire, or using any tents, or
                                                                        19            other temporary structures);
                                                                        20         e. San Diego Municipal Code §54.0105 (unlawful for any person to place,
                                                                                      or allow to remain, any goods, wares, baggage, personal property or
                                                                        21            merchandise on any sidewalk or curb, between the outer edge of the
                                                                        22            sidewalk or curb and the property line.)
                                                                                   f. San Diego Municipal Code §54.0209 (illegal dumping);
                                                                        23         g. San Diego Municipal Code §54.0210 (littering prohibited);
                                                                        24         h. San Diego Municipal Code §54.0212 (property impound);
                                                                                   i. San Diego Municipal Code §63.0404 (camping prohibited);
                                                                        25         j. San Diego Municipal Code §63.0406 (removal of personal property,
                                                                        26            camping paraphernalia, and all other property, contraband, litter, and
                                                                                      waste found at an encampment or at a location where a person is engaged
                                                                        27
                                                                                      in unlawful camping);
                                                                        28

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                                                                         1
                                                                         2           k. Santee Ordinance No. 610 (Adding Section 7.20.100 to the Santee
                                                                                        Municipal Code to Protect the San Diego River Corridor, Mitigate
                                                                         3              Wildfire and Flooding Risk, Improve Water Quality, and Prevent the
                                                                         4              Destruction of Critical Habitat);
                                                                                     l. Santee Municipal Code §7.20.070 (Disposing Trash on Public Property);
                                                                         5
                                                                                     m. Santee Municipal Code §8.08.300 (Disposing of Trash in or Adjacent to
                                                                         6              Any Watercourse);
                                                                         7           n. Santee Municipal Code §7.20.130(A) (Causing/Intending to Cause Fire);
                                                                                     o. Santee Municipal Code §7.20.130(B) (Using or Possessing Competent
                                                                         8
                                                                                        Ignition Source);
                                                                         9           p. Santee Municipal Code §7.20.130(C) (Obstruction of the Flow of Water);
                                                                        10
                                                                                     q. Santee Municipal Code §7.20.130(D) (Discharge of Pollutant/Waste);
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                                                                                     r. Santee Municipal Code §7.20.130(E) (Threatened Damage to
                                                                        11              Endangered Species or Critical Habitat);
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                                                                        12           s. Santee Municipal Code §7.20.150 (Interference with Abatement);
                                                                                     t. Santee Municipal Code §7.20.160 (Violation – Penalty);
                                                                        13
                                                                        14   State Statutes

                                                                        15           a. Cal. Penal Code §602 (criminalizing trespassing);
                                                                        16           b. Cal. Penal Code §374.4(a) Unlawful to Litter;
                                                                                     c. Cal. Penal Code §647(e) (criminalizing “lodg[ing] in any building, struc-
                                                                        17
                                                                                        ture, vehicle, or place whether public or private, without the permission
                                                                        18              of the owner or person entitled to the possession or in control of it”);
                                                                        19           d. Cal. Penal Code §148(a) (prohibiting willfully resisting, delaying or
                                                                                        obstructing agency or law enforcement personnel, from issuing citations
                                                                        20
                                                                                        when an “individual refused to vacate an encampment” after “notice”;
                                                                        21           e. Cal Penal Code §372 (“unlawfully obstruct[ing] the free passage or use,
                                                                        22              in the customary manner, of any…public park, square, street, or
                                                                                        highway”); and
                                                                        23           f. Cal. Penal Code §647(c) (criminalizing “willfully and maliciously
                                                                        24              obstruct[ing] the free movement of any person on any street, sidewalk, or
                                                                                        other public place or on or in any place open to the public”).
                                                                        25
                                                                        26
                                                                        27   / / /
                                                                        28

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                                                                         1        124. Unhoused individuals regularly identify that their primary obstacle to ob-
                                                                         2   taining permanent housing is unaffordable rents. This is not a problem that can be
                                                                         3   solved by sweeps, criminalization, and punishment.25 Criminal enforcement
                                                                         4
                                                                             separates unhoused people from their property, drives them further into poverty, and
                                                                         5
                                                                             creates barriers to employment, housing, and financial stability. Such actions cause
                                                                         6
                                                                             further trauma, increased vulnerability to violence, and makes homeless people more
                                                                         7
                                                                             likely to remain homeless—ultimately making our communities less safe.
                                                                         8
                                                                                  125.       Due to the lack of accessible shelters or storage places existing or being
                                                                         9
                                                                             offered, Defendants’ policies and practices are fundamentally unfair, and, as such,
                                                                        10
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                                                                             Plaintiffs have been subject to, and are at ongoing risk of being subject to,
                                                                        11
                                                                             Defendants’ continued unconstitutional criminalization and property destruction.
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                                                                        12
                                                                                  126.       Defendants’ miniscule efforts to house their homeless Citizens are not
                                                                        13
                                                                             keeping pace with the number of people losing their homes in San Diego County.
                                                                        14
                                                                             According to San Diego Regional Task Force on Homelessness (“RTFH”) data,
                                                                        15
                                                                             14,258 individuals sought homeless services for the first time from October 2022
                                                                        16
                                                                             through September 2023 and only 8,832 formerly unhoused individuals exited
                                                                        17
                                                                             homelessness. As RTFH’s CEO Tamera Kohler explained: “Housing and home-
                                                                        18
                                                                             lessness are directly tied together, and when rental costs go up, so do the numbers
                                                                        19
                                                                             of people experiencing homelessness.… Increased housing opportunities are needed
                                                                        20
                                                                        21
                                                                             to turn the dial on the regional [homelessness] crisis.” 26

                                                                        22   25
                                                                                “…[R]esearch shows that criminalization perpetuates rather than discourages homelessness,
                                                                        23   disqualifying unhoused people from the support they need, including federal housing benefits. A
                                                                             criminal record and credit scores wrecked by civil debt mean fewer employers or landlords willing
                                                                        24   to give them a chance. In the short term, arrests and sweeps interrupt the efforts of service
                                                                             providers. Unhoused people lose medication, critical documents, survival gear, and fragile support
                                                                        25
                                                                             networks, losses that compound the physical and emotional toll of living outdoors.” 25 Rosenthal,
                                                                        26   Tracy. Unusual Cruelty: The New Sundown Towns, The New Republic, pg. 13 (April 30, 2024)
                                                                             (https://newrepublic.com/article/181036/new-sundown-towns-grants-pass-v-johnson).
                                                                        27
                                                                             26 Voice of San Diego, San Diego’s Housing Efforts Aren’t Keeping Pace with Newly Homeless.
                                                                        28   Lisa Halverstadt (December 1, 2023); https://voiceofsandiego.org/2023/12/01/san-diegos-
                                                                             housing-efforts-arent-keeping-pace-with-newly-homeless/
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                                                                         1        127.       Defendants’ tactics in East County are designed and intended to
                                                                         2   frighten and intimidate homeless people into going “somewhere else,” while
                                                                         3   ignoring the fact that the problem of homelessness is worsening. In this manner,
                                                                         4
                                                                             Defendants willfully avoid their obligations to work to remedy the problem.27
                                                                         5
                                                                                  128.       Moreover, people from all demographics are falling into homelessness
                                                                         6
                                                                             for the first time due to San Diego’s high cost of living – not because of mental
                                                                         7
                                                                             illness or substance abuse. Many became homeless for the first time during and
                                                                         8
                                                                             shortly after the Covid pandemic due to an unexpected health crisis, loss of
                                                                         9
                                                                             employment or after the moratorium on evictions was lifted. Named Plaintiffs and
                                                                        10
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                                                                             Class Members include veterans who have served this country and survivors of
                                                                        11
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                                                                             sexual assault who are struggling to put their lives back together.
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                                                                        12
                                                                                  129.       The resulting cost for the County’s failure to address the homeless crisis
                                                                        13
                                                                             is high. In January 2024, RTFH reported that 1,385 San Diegans became homeless
                                                                        14
                                                                             for the first time while only 966 exited homelessness. Again, this data confirms what
                                                                        15
                                                                             the Defendants already know – that local “efforts,” such as they are, to combat
                                                                        16
                                                                             homelessness aren't keeping up with the number of people losing their homes.28
                                                                        17
                                                                                  130.       Instead of combatting the causes of homelessness, Defendants resort to
                                                                        18
                                                                             cruel, ruthless, and hostile actions designed to force homeless people to leave their
                                                                        19
                                                                             communities. Yet, as Defendants are well aware, “leaving” is an impossibility
                                                                        20
                                                                        21
                                                                             because sleeping outdoors is unavoidable when there’s nowhere else to “go.”

                                                                        22        131.       In a recent article published by the San Diego Union Tribune, the author

                                                                        23   opined that “Homelessness is complex and multifaceted, requiring complex and

                                                                        24   multifaceted responses. Evaluation done in partnership between government,

                                                                        25
                                                                             27
                                                                        26        See Rosenthal, Tracy; Unusual Cruelty: The New Sundown Towns, Fn. 18, supra.
                                                                             28
                                                                        27        Regional Task Force on Homelessness San Diego, HMIS Date Newsletter, January 2024;
                                                                             https://www.rtfhsd.org/wp-content/uploads/HMIS-Data-Newsletter-January-2024.pdf; & see Lisa
                                                                        28   Halverstadt, “Homelessness Spikes Again in San Diego County,” Voice of San Diego, (May 22,
                                                                             2024) https://voiceofsandiego.org/2024/05/22/homelessness-spikes-again-in-san-diego-county/.
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                                                                         1   universities, program providers and funders, and people with lived experience of

                                                                         2   homelessness, [are] vital to identifying those programs and services that can move

                                                                         3   us toward a future where homelessness is a rare and brief occurrence. Only together
                                                                         4   can we finally create lasting change.”29
                                                                         5        132.       This tracks with the experiences of Plaintiffs, whose voices are drowned
                                                                         6   out by the politicians who find it easier to use them as talking points in their campaigns

                                                                         7   for re-election. It’s easier to blame the unhoused for society’s problems than it is to

                                                                         8   work on the actual problems and offer real long-lasting solutions. Those experiencing

                                                                         9   homelessness become the scapegoats, and politicians always seek someone to blame.30

                                                                        10        133.       Unfortunately, Defendants have been unwilling to engage in any
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                                                                        11   meaningful conversation about more successful strategies to reduce homelessness in
                                                  SAN DIEGO, CA 92101
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                                                                        12   our communities with the most important stakeholders – those with lived experience.
                                                                        13   Plaintiffs’ counsel invited CALTRANS to join Plaintiff Class Members with “lived-
                                                                        14   experience” to address homelessness in its jurisdiction, but CALTRANS refused.
                                                                        15        134.       In every instance in which Plaintiffs filed an official complaint regarding
                                                                        16   Defendants’ property destruction and “theft” of Plaintiffs’ personal property by
                                                                        17   Defendants themselves, Defendants dismissed these complaints without any bona fide
                                                                        18   investigation. For example, in response to Plaintiffs’ written complaint regarding the
                                                                        19   “sweep” and property destruction that occurred on May 15, 2023 (County File
                                                                        20   Number: 230430), the County Counsel responded as follows:
                                                                        21               “Your claim has been reviewed within the terms and restrictions
                                                                        22               of those laws. We regret that investigation has obliged us to
                                                                                         conclude that the claim must be rejected. Therefore, the claim is
                                                                        23               hereby rejected this date.”
                                                                        24
                                                                        25
                                                                             29  Nations, Jennifer, “Opinion: Evaluation of Homelessness Programs Can Do Much More Than
                                                                        26   Save Money.” San Diego Union Tribune (April 29, 2024) (https://www.sandiegouniontribune.com/
                                                                             opinion/commentary/story/2024-04-29/opinion-evaluation-of-homelessness-programs-can-do-
                                                                        27
                                                                             much-more-than-save-money).
                                                                        28   30   Rosenthal, Tracy. Unusual Cruelty: The New Sundown Towns, pgs. 5-6, Fn. 18, supra.
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                                                                         1      135.         It is a missed opportunity when our government fails to do anything
                                                                         2   constructive to solve public problems, especially when laws and statutes specifically
                                                                         3   require them to do so. In this case, Plaintiffs are instead marginalized and
                                                                         4
                                                                             discriminated against due to their poverty – usually caused by circumstances outside
                                                                         5
                                                                             of their control such as a serious health condition, loss of employment, increasing
                                                                         6
                                                                             cost of living, or a tragic personal event that leaves them unable to keep up with the
                                                                         7
                                                                             demands of life. Not everyone is fortunate to have a family support system when
                                                                         8
                                                                             their world falls apart and they need a safe place to land. Not everyone has a college
                                                                         9
                                                                             degree or career to fall back on. Not everyone recovers from a disabling and
                                                                        10
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                                                                             debilitating health condition or injury. Those experiencing homelessness did not
                                                                        11
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                                                                             choose to be homeless. They are our mothers and fathers, brothers and sisters, sons
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                                                                        12
                                                                             and daughters, neighbors and friends.
                                                                        13
                                                                                136.         Indeed, SANTEE mayor John Minto’s words betray Defendants’
                                                                        14
                                                                             thoughtless goals, policies, and actions, and describe Defendants’ willful violations
                                                                        15
                                                                             of law, with crystal clarity:
                                                                        16
                                                                                       “Homeless people can go anywhere else, they just can't stay there.”
                                                                        17
                                                                                                                REQUISITES FOR RELIEF
                                                                        18
                                                                                137.         Defendants’ policies, actions, and conduct have resulted and will
                                                                        19
                                                                             continue to result in irreparable injuries to Plaintiffs. Plaintiffs have no plain,
                                                                        20
                                                                        21
                                                                             adequate, or complete remedies at law to address the wrongs described herein.

                                                                        22   Defendants have made it plain by their actions and the ongoing nature of their

                                                                        23   activities that they intend to continue the unlawful conduct described herein.

                                                                        24      138.         Defendants have adopted and enacted customs, policies, and/or

                                                                        25   practices of confiscating and destroying the personal property of Plaintiffs and
                                                                        26   Members of the Class without legal basis and the Defendants have participated and
                                                                        27   will continue to participate in implementing these policies and practices unless and
                                                                        28   until restrained by an injunctive decree of this Court.

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                                                                         1      139.       Defendants’ actions violate Plaintiffs’ established constitutional rights,
                                                                         2   and Defendants could not reasonably have thought that their conduct in intentionally
                                                                         3   seizing and immediately destroying all of Plaintiffs' personal property as alleged
                                                                         4
                                                                             herein was lawful or consistent with Plaintiffs' constitutional rights.
                                                                         5
                                                                                140.       Actual controversies exist between Plaintiffs and Defendants because
                                                                         6
                                                                             Defendants engaged in unlawful and unconstitutional conduct and intend to continue
                                                                         7
                                                                             such, whereas Plaintiffs claim such conduct to be unlawful and unconstitutional.
                                                                         8
                                                                                141.       As a direct and proximate result of Defendants’ unconstitutional and
                                                                         9
                                                                             unlawful policies, practices, and conduct, Plaintiffs and Members of the Class have
                                                                        10
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                                                                             suffered, and will continue to suffer violations of their rights, and injury, loss, and
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                             damages, including but not limited to deprivation and destruction of property,
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                                                                        12
                                                                             including clothing, bedding, prescription medications, personal documents, and
                                                                        13
                                                                             other personal possessions, leaving them without their essential personal belongings
                                                                        14
                                                                             necessary for safety, shelter, health, well-being, and personal dignity.
                                                                        15
                                                                                142.       Defendants’ actions are willful, wanton, malicious, and oppressive and
                                                                        16
                                                                             done with conscious disregard and deliberate indifference for Plaintiffs’ rights.
                                                                        17
                                                                                143.       On June 20, 2023, Plaintiffs submitted an administrative claim with the
                                                                        18
                                                                             County of San Diego pursuant to California Government Code §§900 et seq., on
                                                                        19
                                                                             behalf of themselves and all Class Members, addressing the issues raised herein, and
                                                                        20
                                                                        21
                                                                             asking the County to cease and desist such actions. The County rejected Plaintiffs’

                                                                        22   claim and request without any explanation on July 18, 2023.

                                                                        23      144.       On August 15th and September 5th, 2023, Plaintiffs’ counsel submitted

                                                                        24   administrative complaints with the City of Santee regarding the actions set forth

                                                                        25   herein, but these complaints were ignored by Defendants.
                                                                        26      145.       On June 23, 2022 Plaintiffs’ counsel submitted an administrative
                                                                        27   complaint with CALTRANS regarding the actions set forth herein, but that claim
                                                                        28   was “rejected.”

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                                                                         1      146.       On November 6, 2023, Plaintiffs submitted another administrative
                                                                         2   claim with County Counsel via email pursuant to Govt. Code §§900 et seq., on behalf
                                                                         3   of themselves and all Class Members. Defendants failed to act on the claims within
                                                                         4
                                                                             45 days after they were presented (Govt. Code §912.4(a)). The COUNTY was
                                                                         5
                                                                             presumed to have rejected these claims by failing to respond to them in the statutorily
                                                                         6
                                                                             prescribed period of time (Govt. Code §912.4(c)). However, on January 18, 2024,
                                                                         7
                                                                             Plaintiffs’ counsel received a written response from Senior Deputy, Office of County
                                                                         8
                                                                             Counsel, Michelle Acosta. In this letter, the COUNTY refuted Plaintiffs’ complaint,
                                                                         9
                                                                             insisting that they believed that the Fourth, Eighth, and Fourteenth Amendments to
                                                                        10
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                                                                             the United States Constitution, and their corollaries in the California Constitution,
                                                                        11
                                                                             do not apply to the COUNTY’S actions, and that therefore the COUNTY is not
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                                                                        12
                                                                             obligated to follow any law in that regard. The COUNTY made no efforts to
                                                                        13
                                                                             investigate Plaintiffs’ claims, stories, or facts. Accordingly, Plaintiffs have
                                                                        14
                                                                             exhausted administrative remedies (Govt. Code §912.4(a)) to the extent required.
                                                                        15
                                                                                                      FIRST CLAIM FOR RELIEF
                                                                        16                          Unreasonable Search and Seizure
                                                                        17                   Under Fourth Amendment to the U.S. Constitution
                                                                                                        Pursuant to 42 U.S.C. §1983
                                                                        18
                                                                                                  (All Plaintiffs Against All Defendants)
                                                                        19
                                                                                147.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        20
                                                                             allegations as though fully set forth herein.
                                                                        21
                                                                                148.       The Fourteenth Amendment protects against all unreasonable searches
                                                                        22
                                                                             and seizures and specifically protects individuals from being arrested or having their
                                                                        23
                                                                             property searched and seized by law enforcement without probable cause that a
                                                                        24
                                                                             crime has been committed. U.S. Const. Amend. IV.; Kincaid v. City of Fresno, 2006
                                                                        25
                                                                             WL 3542732, at *35-37 (E.D. Cal. Dec. 8, 2006) “[S]eizure of homeless people’s
                                                                        26
                                                                             personal property without probable cause […] violates the Fourth Amendment to the
                                                                        27
                                                                        28
                                                                             United States Constitution.”

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                                                                         1
                                                                                149.       The Fourth Amendment prohibits property destruction under these
                                                                         2
                                                                             same circumstances. Courts have held that local governments must refrain from
                                                                         3
                                                                             summarily seizing and destroying the personal property of unhoused individuals.
                                                                         4
                                                                             See Lavan v. City of L.A., 797 F. Supp. 2d at 1012. The Court in Lavan held that the
                                                                         5
                                                                             Fourth Amendment protects homeless from government seizure and summary
                                                                         6
                                                                             destruction of their unabandoned property, including temporarily unattended
                                                                         7
                                                                             personal property. aff’d, Lavan, 693 F. 3d 1022, and 1030.
                                                                         8
                                                                                150.       Other Courts have expanded this protection explaining that “even if the
                                                                         9
                                                                             seizure of the property would have been deemed reasonable had the City held it for
                                                                        10
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                                                                             return to its owner instead of immediately destroying it, the City’s destruction of the
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                             property rendered the seizure unreasonable.” Garcia v. City of L.A., 11 F. 4th 1113,
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                                                                        12
                                                                        13   1124 (9th Cir. 2021) (“our prior caselaw states clearly that the government may not

                                                                        14   summarily destroy the unabandoned personal property of homeless individuals that

                                                                        15   is kept in public areas”).

                                                                        16      151.       Defendants' above-described customs, policies, practices, and conduct
                                                                        17   of confiscating and destroying Plaintiffs’ personal property without warrant,
                                                                        18   probable cause, exigent circumstances, or adequate notice violate Plaintiffs' right to
                                                                        19   be free from unreasonable searches and seizures under the Fourth Amendment to the
                                                                        20   United States Constitution and 42 U.S.C. § 1983.
                                                                        21      152.       Individual Plaintiffs and others living in San Diego’s East County,
                                                                        22   including many unhoused people served by Plaintiff HOPE, are being and will
                                                                        23   continue to be subject to raids, sweeps, searches, seizures, arrests, “move along”
                                                                        24   orders, and being “chased away” without probable cause or reasonable suspicion.
                                                                        25   And they live under constant and imminent threat of being subject to these
                                                                        26   unconstitutional searches and seizures, as well as property destruction – which
                                                                        27   permanently deprives them of their belongings.
                                                                        28

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                                                                         1      153.       Defendants have intentional, active, and official policies, customs, and

                                                                         2   practices of seizing and destroying unhoused people’s personal belongings without

                                                                         3   making any objective assessment or determination about whether it poses any kind
                                                                         4   of threat, solely for the purposes of chasing people “away.” In addition, Defendants
                                                                         5   have intentional, active, and official policies of undermining and endangering
                                                                         6   homeless people’s health and safety, and deliberately and intentionally ignoring and
                                                                         7   failing to follow their statutory obligations to protect and care for their Citizens.
                                                                         8      154.       Defendants have created, and utilize, policies, customs, and practices
                                                                         9   of indiscriminately taking all personal property from unhoused individuals and
                                                                        10   disposing of it without sorting it or saving any of it for later retrieval, while ignoring
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                                                                        11   the timely and contemporaneous objections of unhoused people crying out to have
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                                                                        12   their belongings preserved. Defendants make no effort to retain or preserve any of
                                                                        13   the property that they confiscate from Plaintiffs, even though it is obvious that most
                                                                        14   of the property is valuable to the Plaintiffs and in many cases, represents virtually
                                                                        15   everything they own. This widespread destruction belies any suggestion that
                                                                        16   Defendants’ practice is to remove only clearly abandoned or hazardous property.
                                                                        17   See, e.g., Mitchell, 2016 WL 11519288 at *3-4 (C.D. Cal. Apr. 13, 2016); Rios v.
                                                                        18   County of Sacramento, 562 F. Supp. 2d 999, 1017 (E.D. Cal. 2021); see also
                                                                        19
                                                                             Pottinger v. City of Miami, 810 F. Supp. 1551, 1559 (S.D. Fla. 1992).
                                                                        20
                                                                                155.       Defendants by their actions have acted in ways they know to be
                                                                        21
                                                                             unconstitutional, by treating unhoused individuals as less than citizens. As a direct
                                                                        22
                                                                             and proximate consequence of Defendants’ unconstitutional acts, policies, and
                                                                        23
                                                                             practices, the Named Plaintiffs and Class Members have suffered and will continue
                                                                        24
                                                                             to suffer from the continuous, persistent, and imminent threat of having their
                                                                        25
                                                                             personal property summarily seized and destroyed. Plaintiffs request injunctive
                                                                        26
                                                                             relief to stop the property destruction by Defendants and to require that Defendants
                                                                        27
                                                                             adopt constitutionally-sound policies.
                                                                        28

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                                                                         1      156.       Defendants’ actions are also intended to frustrate, undermine, and

                                                                         2   deplete Plaintiff HOPE’s assistance and social service efforts and resources, which

                                                                         3   Defendants believe will more quickly force the departure and “moving along” of
                                                                         4   Named Plaintiffs and Class Members in San Diego’s East County.
                                                                         5      157.       By their acts and omissions, the Defendants deprived Plaintiffs of their
                                                                         6   clearly established rights to be free of unreasonable searches and seizures.
                                                                         7      158.       The Defendants’ violations of those rights also caused Plaintiffs to
                                                                         8   suffer physical, mental, emotional and economic damages. Accordingly, named
                                                                         9   Plaintiffs and Class Members seek appropriate damages, and injunctive and
                                                                        10   declaratory relief, and attorneys’ fees and costs.
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                                                                        11                         SECOND CLAIM FOR RELIEF
                                                  SAN DIEGO, CA 92101




                                                                                        Denial of Procedural Due Process and Equal Protection
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                                                                        12
                                                                                       Under the Fourteenth Amendment to the U.S. Constitution
                                                                        13                                  (42 U.S.C. §1983)
                                                                        14                       (All Plaintiffs Against All Defendants)

                                                                        15      159.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        16   allegations as though fully set forth herein.
                                                                        17      160.       The Due Process Clause of the Fourth Amendment to the U.S.
                                                                        18   Constitution provides that no state shall “deprive any person of life, liberty, or
                                                                        19   property, without due process of law.” The Fourteenth Amendment to the U.S.
                                                                        20   Constitution prohibits the government from depriving any person, including
                                                                        21   homeless persons, of their property without due process of law.
                                                                        22      161.       The Fourteenth Amendment protects homeless individuals from having
                                                                        23   their property seized and destroyed by government agencies and law enforcement
                                                                        24   without significant due process safeguards - including advance notice, reasonable
                                                                        25   time to move property, and “bagging and tagging” of all confiscated non-hazardous
                                                                        26   property for later recovery at a suitable location. Lavan v. City of Los Angeles, 693
                                                                        27   F. 3d 1022, 1028-29; 1032 (9th Cir. 2012) (14th Amendment requires governments
                                                                        28   to take “reasonable steps to give notice that the property has been taken so the owner
                                                                                       Hope For The Homeless et al v. County of San Diego, et al – 2nd Am. Comp. -- 24-cv-1009-L-MSB   49
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                                                                         1   can pursue available remedies for its return”); see O’Callaghan v. City of Portland,

                                                                         2   No. 3:12-CV-00201-BR, 2013 WL 5819097, at *4 (D. Or. Oct. 29, 2013).31

                                                                         3        162.       Defendants’ policies, customs, and practices of seizing and
                                                                         4   immediately destroying unhoused people’s personal belongings without any notice
                                                                         5   or an opportunity to be heard, and without any meaningful way to collect their
                                                                         6   property, are violations of the Fourteenth Amendment.
                                                                         7        163.       Defendants’ policies and practices of taking and trashing Plaintiffs’
                                                                         8   possessions without providing opportunity to reclaim and collect such taken property
                                                                         9   continue, subjecting Plaintiffs and the Class Members to persistent and imminent
                                                                        10   threats of having their personal property seized and destroyed without due process
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                                                                        11   of law, for the sole purpose of “chasing them away.”
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                                                                        12        164.       Moreover, Defendants’ conduct violates the Equal Protection Clause
                                                                        13   because it disproportionately affects a suspect class and impinges on the exercise of
                                                                        14   Plaintiff and Class Members’ exercise of a fundamental right. Plyer v. Doe, 457 U.S.
                                                                        15   202, 216-17 (1982). Here, Defendants’ “move along” and chase-away orders,
                                                                        16   ticketing, arresting and threats of such directly infringe on Plaintiffs’ and Class
                                                                        17   Members’ Rights to Travel. Defendants issue citations, engage in property
                                                                        18   destruction, and threaten arrest or criminal prosecution even though they know that
                                                                        19
                                                                             Plaintiffs and Class Members have no reasonable alternative but to utilize the
                                                                        20
                                                                             rudimentary shelter provided by their tents or vehicles. Defendants’ conduct has the
                                                                        21
                                                                             purpose and effect of depriving or threatening to deprive Plaintiffs and Class
                                                                        22
                                                                             Members of the necessities of life, including sleep, food, shelter, medications, and
                                                                        23
                                                                             other possessions, thereby preventing Plaintiffs and Class Members from traveling
                                                                        24
                                                                             and residing in San Diego’s East County.
                                                                        25
                                                                        26
                                                                             31  City of San Diego is aware of its obligations under the 14th Amendment, inasmuch as it was
                                                                        27   previously sued for violating those obligations, and is required per Court Order & Settlement
                                                                             Agreement not to take and destroy homeless peoples’ property but instead to make it available for
                                                                        28   recovery (Isaiah Project v. City of San Diego, USDC #2009CV2699 BTM/WVG).

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                                                                         1      165.       Defendants’ unlawful actions and the resulting injuries entitle Plaintiffs

                                                                         2   and Class Members to compensatory damages, including damages for emotional

                                                                         3   distress. Named Plaintiffs and Class Members are also entitled to injunctive and
                                                                         4   declaratory relief, restitution, and attorneys’ fees and costs.
                                                                         5      166.       By their acts and omissions, the Defendants deprived Plaintiffs of their
                                                                         6   clearly established rights to procedural due process and equal protection.
                                                                         7      167.       The Defendants’ violations of those rights also caused Plaintiffs to
                                                                         8   suffer physical, mental, emotional and economic damages. Accordingly, named
                                                                         9   Plaintiffs and Class Members seek appropriate damages, and injunctive and
                                                                        10   declaratory relief, and attorneys’ fees and costs.
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                                                                        11                             THIRD CLAIM FOR RELIEF
                                                  SAN DIEGO, CA 92101




                                                                                                    Exposure to a State-Created Danger
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                                                                        12
                                                                                               Fourteenth Amendment to the U.S. Constitution
                                                                        13                               Pursuant to 42 U.S.C. §1983
                                                                        14                         (All Plaintiffs Against All Defendants)

                                                                        15      168.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        16   allegations as though fully set forth herein.
                                                                        17      169.       Local and state governments violate the substantive due process rights
                                                                        18   of unhoused people when they place unhoused individuals in more vulnerable
                                                                        19   situations by confiscating critical survival belongings that they use for shelter,
                                                                        20   warmth, and protection from the elements. See Santa Cruz Homeless Union v.
                                                                        21   Bernal, 514 F. Supp. 3d 1136 at 1144-1145 (N.D. Cal. 2021); Sanchez v. City of
                                                                        22   Fresno, 914 F. Supp. 2d 1079, 1102 (E.D. Cal. 2012).
                                                                        23      170.       By their acts and omissions, Defendants deprived Plaintiffs of clearly
                                                                        24   established, substantive due process rights to be free from state created danger.
                                                                        25      171.       Defendants’ policies and practices have, and will continue to, put
                                                                        26   Plaintiffs, Class Members, and Disabled Subclass Members in immediate danger,
                                                                        27   and have caused physical, mental, emotional and economic damages.
                                                                        28

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                                                                         1        172.       Accordingly, Plaintiffs and Class Members seek appropriate damages,
                                                                         2   and injunctive and declaratory relief, and attorneys’ fees and costs
                                                                         3                             FOURTH CLAIM FOR RELIEF
                                                                         4                             Violation of Right to Association
                                                                                            (First & Fourteenth Amendments and 42 U.S.C. §1983)
                                                                         5
                                                                                  173.       Plaintiffs re-allege and incorporate by reference all the above
                                                                         6
                                                                             allegations as though fully set forth herein.
                                                                         7
                                                                                  174.       Defendants’ actions, including their use and invocation of Local and
                                                                         8
                                                                         9
                                                                             Municipal Codes and Ordinances, and State Penal Codes, as justifications to throw

                                                                        10   away and destroy Plaintiffs’ property and to chase them “away,” constitute
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                                                                        11   violations of Plaintiffs’ and Class Members’ constitutional rights to association in
                                                  SAN DIEGO, CA 92101
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                                                                        12   two related yet distinct contexts: the right to familial association and the right to

                                                                        13   expressive association and association with their communities.
                                                                        14        175.       The Ninth Circuit has routinely found that the right to familial
                                                                        15   association is protected under both the First and Fourteenth Amendments of the US
                                                                        16   Constitution. See Keates v. Koile, 883 F.3d 1228, 1235-36 (9th Cir. 2018) (citing Lee
                                                                        17   v. City of Los Angeles, 250 F.3d 668, 685 (9th Cir. 2001)).
                                                                        18        176.       Defendants by their actions are attempting to prevent, and effectively
                                                                        19   preventing, Plaintiffs and Class Members from “being present” in the public areas
                                                                        20   of San Diego’s East County, where they and their friends and family reside, when
                                                                        21   no alternatives exist. Defendants’ message is clear: “Homeless people can go
                                                                        22   anywhere else; they just can’t stay here.”32 Sadly, for those Plaintiffs and Class
                                                                        23   Members who are and have been residents of San Diego’s East County who have
                                                                        24   fallen into homelessness, primarily due to the lack of affordable housing or
                                                                        25   unexpected life events, there are no alternative housing options.
                                                                        26
                                                                        27
                                                                        28   32   Statement of Mayor John Minto, Santee Mayor; see FN 22, above.
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                                                                         1      177.       Moreover, Defendants’ unconstitutional conduct restricts Plaintiffs and

                                                                         2   Class Members from engaging in routine activities such as grocery shopping and

                                                                         3   employment in violation of the 14th Amendment right to association. Recently,
                                                                         4   Disabled Subclass Members’ requests for accommodations made via their counsel
                                                                         5   to Defendant SANTEE have resulted in hotel vouchers that relocate them to hotels
                                                                         6   in Hotel Circle. It is more than coincidental that counsel’s requests for
                                                                         7   accommodations to Defendant SANTEE have resulted in hotel vouchers for spaces
                                                                         8   in Hotel Circle, far from SANTEE, which isolate Plaintiffs from their community,
                                                                         9   family, and right to expressive association protected under the First Amendment.
                                                                        10   This right enables citizens to assemble or gather for church, social meetings,
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                                                                        11   educational workshops, community gatherings, and virtually anything that could
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                                                                        12   reasonably be construed as protected permissible expressive associational activity.
                                                                        13   See, Santropietro v. Howell, 857 F.3d 980, 989 (9th Cir. 2017) (“Association for the
                                                                        14   purpose of engaging in protected activity is itself protected by the First Amendment.
                                                                        15   ‘[I]mplicit in the right to engage in activities protected by the First Amendment’ is
                                                                        16   ‘a corresponding right to associate with others in pursuit of a wide variety of
                                                                        17   political, social, economic, educational, religious, and cultural ends.’”)(citing
                                                                        18   Roberts v. U.S. Jaycees, 468 U.S. 609, 622, 104 S.Ct. 3244, 3252 (1984)).
                                                                        19
                                                                                178.       Most of the named Plaintiffs and Plaintiff Class Members were born
                                                                        20
                                                                             and raised and live in East County. As a result of Defendants’ unconstitutional
                                                                        21
                                                                             policies and practices in enforcing and threatening to enforce their Municipal Codes,
                                                                        22
                                                                             Local Ordinances, and State Penal Code violations in manners that literally preclude
                                                                        23
                                                                             Named Plaintiffs, Class Members, and Disabled Subclass Members from physical
                                                                        24
                                                                             presence in San Diego’s East County, Plaintiffs are substantially prohibited from
                                                                        25
                                                                             exercising their rights to expressive association protected by the First Amendment,
                                                                        26
                                                                             or to associate with others in the pursuit of political, social, economic, educational,
                                                                        27
                                                                             religious, and cultural ends.
                                                                        28

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                                                                         1      179.       Defendants’ actions have removed, and are designed to remove,
                                                                         2   Plaintiffs from their entire support network (including access to employment
                                                                         3   opportunities), family, and friends. This further marginalizes Plaintiffs, under color
                                                                         4
                                                                             of law, making access to resources more complex and unduly restricting them from
                                                                         5
                                                                             exercising their rights to familial and expressive association.
                                                                         6
                                                                                180.       Plaintiffs have suffered and will continue to endure emotional and
                                                                         7
                                                                             mental distress as well as humiliation because of this violation of their rights.
                                                                         8
                                                                             Defendants’ unlawful conduct and the resulting injuries entitle Named Plaintiffs,
                                                                         9
                                                                             Class Members, and Disabled Subclass Members to compensatory damages for
                                                                        10
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                                                                             emotional distress. Named Plaintiffs and putative Class Members and Disabled
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                             Subclass Members are also entitled to injunctive and declaratory relief, restitution,
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                                                                        12
                                                                             and attorneys’ fees and costs.
                                                                        13
                                                                                                      FIFTH CLAIM FOR RELIEF
                                                                        14              Denial of Right Against Unreasonable Search and Seizure-
                                                                        15                 Under Article 1, §13 of the California Constitution
                                                                                                  (All Plaintiffs Against All Defendants)
                                                                        16
                                                                        17      181.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        18   allegations as though fully set forth herein.
                                                                        19      182.       The California Constitution involves even greater protections than the
                                                                        20   US Constitution with respect to arrest, search, and seizure. See Cal. Const., Art. I,
                                                                        21   §13; In re Lance W., 37 Cal. 3d 873, 879 (1985).
                                                                        22      183.       Defendants have intentional and active policies, customs, and practices
                                                                        23   of conducting sweeps, raids, searches, property seizures and destruction, arrests, and
                                                                        24   “move along” orders designed and intended to chase, harass and threaten unhoused
                                                                        25   people, including Named Plaintiffs and Class Members, without providing proper
                                                                        26   notice, nor of any services or places to be or offers, of such. Such policies and actions
                                                                        27   violate the protections of Article I, Section 13 of the California Constitution.
                                                                        28   Plaintiffs ask the Court to enjoin such further conduct by Defendants.
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                                                                         1                              SIXTH CLAIM FOR RELIEF
                                                                                       Violation of Prohibition Against Cruel or Unusual Punishment
                                                                         2                   Under Article I, §17 of the California Constitution
                                                                         3                          (All Plaintiffs Against All Defendants)

                                                                         4      184.        Plaintiffs re-allege and incorporate by reference all the above
                                                                         5   allegations as though fully set forth herein.
                                                                         6      185.        Defendants’ actions and practices of threatening, harassing, sweeping,
                                                                         7   arresting, citing, fining, and taking and destroying the property of, hundreds of
                                                                         8   unhoused people, when those people have no choice but to live in public space,
                                                                         9   constitute inhumane punishment that does not respect the intrinsic worth of
                                                                        10   unhoused individuals as human beings in violation of California’s prohibition
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                                                                        11   against cruel or unusual punishment.
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                                                                        12      186.        The California Constitution protects citizens against all cruel or unusual
                                                                        13   punishments, including those that may not be considered violations of the Eighth
                                                                        14   Amendment to the US Constitution. See California v. Carmony, 127 Cal. App. 4th
                                                                        15   1066, 1085 (2005) (recognizing this distinction is “purposeful and substantive rather
                                                                        16
                                                                             than merely semantic”); In re Alva, 33 Cal. 4th 254, 291 n. 20 (2004). Critical to the
                                                                        17
                                                                             difference in analysis is whether the government is “treat[ing] its [residents] with
                                                                        18
                                                                             respect for their intrinsic worth as human beings.” Carmony, 127 Cal. App. 4th at
                                                                        19
                                                                             1085 (citations omitted). Defendants do not treat Plaintiffs with such respect.
                                                                        20
                                                                                187.        Defendants’ customs and practices of raiding, sweeping, threatening,
                                                                        21
                                                                             chasing, and destroying the property of hundreds of unhoused people, when those
                                                                        22
                                                                             people have no choice but exist in public space, constitute inhumane punishment.
                                                                        23
                                                                                188.        The provisions of the California Constitution are self-executing and
                                                                        24
                                                                             create a private right of action for declaratory or injunctive relief. Katzberg v.
                                                                        25
                                                                             Regents of Univ. of Cal., 29 Cal. 4th 300, 307 (2002). Accordingly, Named Plaintiffs
                                                                        26
                                                                             and Class Members request that this Court grant injunctive relief preventing
                                                                        27
                                                                             Defendants from continuing these and all related actions.
                                                                        28

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                                                                         1
                                                                                                      SEVENTH CLAIM FOR RELIEF
                                                                         2                Violation of Procedural Due Process and Equal Protection
                                                                                                   California Constitution, Article 1, §7(A).
                                                                         3
                                                                                                    (All Plaintiffs Against All Defendants)
                                                                         4
                                                                                  189.       Plaintiffs re-allege and incorporate by reference all the above
                                                                         5
                                                                             allegations as though fully set forth herein.
                                                                         6
                                                                                  190.       In adopting and implementing these policies and practices with the
                                                                         7
                                                                             intent to harm and disadvantage homeless persons in the San Diego’s East County,
                                                                         8
                                                                             the Defendants have violated the Equal Protection Clause of the California
                                                                         9
                                                                             Constitution, Article 1, § 7(a).33
                                                                        10
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                                                                                  191.       The due process protections under the California Constitution are more
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                             expansive than those under the U.S. Constitution. See Cal. Const., Art. I, §§ 7(a),
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                                                                        12
                                                                        13   15; Ryan v. Cal. Interscholastic Federation-San Diego Section, 94 Cal. App. 4th

                                                                        14   1048, 1070 (2001) (“procedural due process under the California Constitution is

                                                                        15   much more inclusive and protects a broader range of interests than under the federal

                                                                        16   Constitution”) (citations omitted).
                                                                        17        192.       The California Constitution requires that “even in cases in which the
                                                                        18   decision-making procedure will not alter the outcome of governmental action, due
                                                                        19   process may nevertheless require that certain procedural protections be granted the
                                                                        20   individual in order to protect important dignity values.” People v. Ramirez, 25 Cal.
                                                                        21   3d 260, 268 (1976). The purpose of these safeguards is “to ensure that the method
                                                                        22   of interaction itself is fair in terms of what are perceived as minimum standards of
                                                                        23   political accountability, and of modes of interaction which express a collective
                                                                        24   judgment that human beings are important in their own right, and that they must be
                                                                        25   treated with understanding, respect, and even compassion.” Id.
                                                                        26
                                                                        27
                                                                        28   33   See, Footnote 16, above.
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                                                                         1      193.       “Due process safeguards…must be analyzed in the context of the
                                                                         2   principle that freedom from arbitrary adjudicative procedures is a substantive
                                                                         3   element of one’s liberty.” Id. at 268. Defendants’ policies and actions are based on
                                                                         4
                                                                             their animus towards this disfavored group and thus violate safeguards afforded by
                                                                         5
                                                                             the California Constitution that promote due process and equal protection under law.
                                                                         6
                                                                                194.       Defendants’ policies, customs, and practices of threatening, chasing,
                                                                         7
                                                                             sweeping, and seizing and destroying unhoused people’s personal belongings,
                                                                         8
                                                                             without opportunity to recover such belongings, violate the basic tenants of
                                                                         9
                                                                             procedural due process, and fail to confer the dignity, respect, and compassion
                                                                        10
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                                                                             required by the California Constitution.
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                                195.       Plaintiffs ask the Court to enjoin such further conduct by Defendants.
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                                                                        12
                                                                                                        EIGHTH CLAIM FOR RELIEF
                                                                        13                            Exposure to a State-Created Danger
                                                                        14                        Article I, §7(a) of the California Constitution
                                                                                                     (All Plaintiffs Against All Defendants)
                                                                        15
                                                                                196.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        16
                                                                             allegations as though fully set forth herein.
                                                                        17
                                                                        18
                                                                                197.       Government actions that affirmatively place persons in a position of

                                                                        19
                                                                             danger deprive those persons of substantive due process rights guaranteed by the

                                                                        20   California Constitution. Cal. Const., Art. I, § 7(a).

                                                                        21      198.       Defendants’ policies, customs, actions and practices of removing

                                                                        22   unhoused people from public spaces by repeatedly chasing them away with raids
                                                                        23   and sweeps and threats, by preventing them from gathering their possessions, by
                                                                        24   seizing and destroying their property, such as tents and personal items, and without
                                                                        25   providing or offering any services or alternatives, endanger the lives, health, and
                                                                        26   safety of unhoused people, including Plaintiffs, Class Members, and Disabled
                                                                        27   Subclass Members, in ways that shock the conscience. Defendants know or should
                                                                        28   know that their actions endanger the health and safety of unhoused individuals.

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                                                                         1      199.         Defendants’ continued actions violate the California Constitution’s

                                                                         2   prohibition of state-created-dangers when they force Plaintiffs, Class Members, and

                                                                         3   Disabled Subclass Members into increasingly dangerous and life-threatening
                                                                         4   situations, leaving these people “worse off.” As a direct and proximate result of these
                                                                         5   policies and practices, Defendants have affirmatively acted by repeatedly chasing
                                                                         6   Plaintiffs, Class Members, and Disabled Subclass Members away from one location
                                                                         7   to another, and without their now-destroyed tents and life-sustaining belongings,
                                                                         8   further and further to locations that are devoid of basic services, protection from the
                                                                         9   elements, and/or disability access, and where they face elevated risks of harm.
                                                                        10      200.         As a direct and proximate result of Defendants’ practices and policies
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                                                                        11   described herein, Plaintiffs’, Class Members’, and Disabled Subclass Members’
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                                                                        12   health and safety were and are placed in grave danger. Plaintiffs, Class Members,
                                                                        13   and Disabled Subclass Members have been and continue to be injured and damaged
                                                                        14   in that they suffered serious harm and were forced to bear the medical costs of those
                                                                        15   harms. In addition, Plaintiffs suffered emotional and mental distress because of the
                                                                        16   danger created by Defendants’ unlawful actions. As such, Plaintiffs ask the Court to
                                                                        17   enjoin such further conduct by Defendants.
                                                                        18                              NINTH CLAIM FOR RELIEF
                                                                        19                       Inverse Condemnation - Cal. Const. Art I §19
                                                                                       (All Plaintiffs Against All Defendants Except City of San Diego)
                                                                        20
                                                                        21
                                                                                201.         Plaintiffs re-allege and incorporate by reference all the above

                                                                        22   allegations as though fully set forth herein.

                                                                        23      202.         California Constitution, Article I §19(a), states: “Private property may

                                                                        24   be taken or damaged for public use and only when just compensation, ascertained

                                                                        25   by a jury unless waived, has first been paid to, or into court, for the owner.”
                                                                        26      203.         Defendants have engaged in the regular and mass taking and
                                                                        27   destruction of homeless people’s private property. In return, the Defendants have not
                                                                        28   offered or paid any just compensation.

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                                                                         1      204.       Defendants’ taking and destruction of Plaintiffs’ property has occurred
                                                                         2   with no compensation, assistance, shelter or alternatives offered or given to
                                                                         3   unhoused individuals, and thus constitutes inverse condemnation in violation of the
                                                                         4
                                                                             California Constitution. Accordingly, Plaintiffs ask the Court to enjoin such further
                                                                         5
                                                                             conduct by Defendants.
                                                                         6
                                                                                                     TENTH CLAIM FOR RELIEF
                                                                         7                   Discrimination Against Persons with Disabilities
                                                                                    (Americans With Disabilities Act (ADA), 42 U.S.C. §12131 et. seq.
                                                                         8
                                                                                                and California Government Code §11135)
                                                                         9         ((All Disabled Subclass Member Plaintiffs Against All Defendants))
                                                                        10
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                                                                                205.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        11
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                                                                             allegations as though fully set forth herein.
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                                                                        12
                                                                                206.       Title II of the ADA provides “[N]o qualified individual with a disability
                                                                        13
                                                                             shall, by reason of such disability, be excluded from participation in or be denied the
                                                                        14
                                                                             benefits of the services, programs, or activities of a public entity, or be subjected to
                                                                        15
                                                                             discrimination by any such entity.” 42 U.S.C. §12132. Such discrimination includes
                                                                        16
                                                                             administration of programs in a way that has a discriminatory effect on people with
                                                                        17
                                                                             disabilities, or that has the “effect of defeating or substantially impairing the
                                                                        18
                                                                             accomplishment of the objectives of the service, program, or activity with respect to
                                                                        19
                                                                             individuals with disabilities.” 28 C.F.R. §35.130 (b)(3)(ii).
                                                                        20
                                                                        21
                                                                                207.       A government’s removal of unhoused individuals and their possessions

                                                                        22   from public property, as well as the provision of services or shelter to unhoused

                                                                        23   individuals, are programs, services, and/or activities covered by Title II of the ADA.

                                                                        24   The opportunity to comply with a public entity’s directives in a manner consistent

                                                                        25   with one’s disability is a covered “benefit” under the ADA. Administration of
                                                                        26   programs or activities in a way that unduly burdens disabled persons by imposing a
                                                                        27   different or greater burden on them is “discrimination.”
                                                                        28

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                                                                         1        208.       The ADA’s implementing regulations specifically proscribe “methods

                                                                         2   of administration” that “defeat or substantially impair accomplishment” of a

                                                                         3   program’s objectives as to individuals with disabilities. 28 C.F.R. § 35.130(b)(3).
                                                                         4   They also prohibit providing aids, benefits, or services in such a way that qualified
                                                                         5   individuals with a disability are not afforded an “equal opportunity to obtain that
                                                                         6   same result…as that provided to others.” 28 C.F.R. § 35.130(b)(1)(iii).
                                                                         7        209.       Failure to provide proper assistance, additional time, or other supports
                                                                         8   to disabled individuals when demanding that unhoused people remove themselves
                                                                         9   or their belongings from public space is a violation of the ADA. See, Cooley v. City
                                                                        10   of Los Angeles, 2019 WL 3766554, at *6 (C.D. Cal. Aug. 5, 2019) (“Cooley […]
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                                                                        11   told LAPD officers that she needed help to carry her property because of her
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                                                                        12   disability and that she lost most of her essential property because her needs were not
                                                                        13   accommodated […] [T]he City’s practices, even if facially neutral, violate the ADA
                                                                        14   by unduly burdening people with disabilities such as Cooley”).
                                                                        15        210.       Failing to provide shelter options to unhoused people that meet their
                                                                        16   disability needs violates the ADA, as it means shelter is functionally unavailable to
                                                                        17   them because of their disability. See Bloom v. City of San Diego, 2018 WL 9539238,
                                                                        18   at *3 (S.D. Cal. June 8, 2018) (“[B]ecause of plaintiffs’ disabilities, they cannot seek
                                                                        19
                                                                             housing in a homeless shelter because the homeless shelter cannot accommodate
                                                                        20
                                                                             their disabilities…[and] the shelters are ‘functionally unavailable’ to them”).34
                                                                        21
                                                                                  211.       Defendants discriminate against unhoused individuals by willfully and
                                                                        22
                                                                             intentionally failing to provide adequate notice, time, and assistance to unhoused
                                                                        23
                                                                             people with disabilities who are forced to constantly and repeatedly move
                                                                        24
                                                                             themselves and their belongings from public space in response to Defendants’
                                                                        25
                                                                             34
                                                                        26        Cal. Gov. Code §11135 is intended to prohibit all forms of discrimination prohibited under
                                                                             Title II of the Americans with Disabilities Act and, where possible, to be more protective of people
                                                                        27   with disabilities. By administering its programs for unhoused people and response to homelessness
                                                                             in a manner that has a discriminatory effect on people with disabilities, Defendants have violated,
                                                                        28
                                                                             and continue to violate, Section 11135.
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                                                                         1   homeless sweeps. Defendants further discriminate against unhoused individuals

                                                                         2   with disabilities by arresting, citing, fining, and seizing the property of unhoused

                                                                         3   people for sleeping, lodging, or camping in public without first identifying their
                                                                         4   individualized needs and whether Defendants’ shelter options, if any exist, can
                                                                         5   actually meet those needs.
                                                                         6      212.         Forcibly removing disabled unhoused residents and chasing them to
                                                                         7   other unknown places without first identifying and offering alternative shelter or
                                                                         8   services that meet the individualized needs of people with disabilities, as Defendants
                                                                         9   are doing, does not serve any compelling or bona fide or legitimate interest.
                                                                        10      213.         Plaintiffs ALBONE, BISHOP, GILLETTE, LEGGOTT, McCOY,
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                                                                        11   WHALEY, and a significant number of other unhoused individuals, Class Members,
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                                                                        12   and Disabled Subclass members served by Plaintiff HOPE, have physical and/or
                                                                        13   mental health disabilities and have been injured by Defendants’ discriminatory
                                                                        14   response to unhoused residents. These Plaintiffs are each “qualified individual[s]
                                                                        15   with disability[ies]” as defined by the ADA. 42 U.S.C. §12102; 42 U.S.C. §12131;
                                                                        16   28 C.F.R. §35.104.
                                                                        17      214.         Defendants are “public entities” as defined by the ADA (42 U.S.C.
                                                                        18   §12131; 28 C.F.R. §35.104). Defendants have discriminated against Individual
                                                                        19
                                                                             Disabled Plaintiffs and Disabled Subclass Members by enforcing relocation
                                                                        20
                                                                             directives and conducting property seizures and destruction activities in ways that
                                                                        21
                                                                             impose different and greater hardships on disabled Plaintiffs as a result of their
                                                                        22
                                                                             disabilities.
                                                                        23
                                                                                215.         Defendants have denied Plaintiffs meaningful access to the benefit of
                                                                        24
                                                                             compliance with their directives to relocate in a manner consistent with their
                                                                        25
                                                                             disabilities. As a direct and proximate cause of Defendants’ actions, Individual
                                                                        26
                                                                             Disabled Plaintiffs and Disabled Subclass Members have suffered, and will continue
                                                                        27
                                                                             to suffer, injury and loss.
                                                                        28

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                                                                         1      216.       Plaintiffs ALBONE, BISHOP, GILLETTE, LEGGOTT, McCOY,
                                                                         2   WHALEY, and a significant number of unhoused individuals served by Plaintiff,
                                                                         3   HOPE, have physical and/or mental health disabilities and have been injured by
                                                                         4
                                                                             Defendants’ discriminatory response to unhoused residents with disabilities through
                                                                         5
                                                                             their actions and failure to adopt policies and procedures that protect those unhoused
                                                                         6
                                                                             individuals with disabilities. Defendants’ actions and those of its employees, agents,
                                                                         7
                                                                             contractors, and law enforcement agencies were taken pursuant to the Defendants’
                                                                         8
                                                                             policies, patterns, and/or customs of discriminating against people with disabilities
                                                                         9
                                                                             by imposing different and greater hardships on them and denying them the benefit
                                                                        10
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                                                                             of compliance with their directives in a manner consistent with their disabilities.
                                                                        11
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                                                                             These policies, patterns, and/or customs violate the ADA. All Individual Plaintiffs
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                                                                        12
                                                                             with disabilities and Disabled Subclass Members are entitled to injunctive and
                                                                        13
                                                                             declaratory relief prohibiting Defendants from engaging in these unconstitutional
                                                                        14
                                                                             customs, policies, and practices.
                                                                        15
                                                                                                   ELEVENTH CLAIM FOR RELIEF
                                                                        16                Failure to Provide Reasonable Accommodations; and
                                                                        17                 Intentional Discrimination / Deliberate Indifference
                                                                                                 (Americans with Disabilities Act (ADA)
                                                                        18
                                                                                                   42 U.S.C. §12132; 42 U.S.C. §12133)
                                                                        19          (All Disabled Subclass Member Plaintiffs Against All Defendants)
                                                                        20      217.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        21   allegations as though fully set forth herein.
                                                                        22
                                                                                218.       To avoid discriminating against individuals with disabilities, public
                                                                        23
                                                                             entities are required to provide Reasonable Accommodations and/or Modifications
                                                                        24
                                                                             to policies or practices. A public entity that fails to provide reasonable disability
                                                                        25
                                                                             accommodations, particularly after such have been requested, commits a stand-alone
                                                                        26
                                                                             violation of Title II of the ADA. 28 C.F.R. §35.130(b)(7).
                                                                        27
                                                                        28

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                                                                         1      219.       A public entity has a duty to consider all resources available for use in

                                                                         2   the funding and operation of a service, program, or activity when determining

                                                                         3   whether a requested accommodation can be offered. If a public entity determines
                                                                         4   that a particular accommodation cannot be provided, it has a duty to provide a written
                                                                         5   statement of the reasons for reaching that conclusion. 28 C.F.R. §35.164.
                                                                         6      220.       Defendants violated their duties and Plaintiffs’ rights under the ADA
                                                                         7   by ignoring or otherwise failing to respond to each Individual Plaintiffs’ Reasonable
                                                                         8   Accommodation request including in person requests for assistance in relocation
                                                                         9   when disabled Plaintiffs were obviously struggling with mobility challenges such as
                                                                        10   walkers, canes, and wheelchairs. Furthermore, Defendants failed to investigate the
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                                                                        11   viability of Plaintiffs’ requested accommodations and did not engage in any
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                                                                        12   interactive process with them other than laughing at them and throwing away their
                                                                        13   property, including their prescription medications, walkers, canes, and wheelchairs,
                                                                        14   along with other irreplaceable and necessary belongings.
                                                                        15      221.       Defendants fail to respond to, investigate or engage with Reasonable
                                                                        16   Accommodation requests, and intentionally operate under an absence of any policies
                                                                        17   or processes for receiving, processing, and responding to such requests, and thereby
                                                                        18   disregard and ignore such requests from unhoused persons with disabilities.
                                                                        19
                                                                                222.       Defendants further violate their duties and Individual Plaintiffs’ rights
                                                                        20
                                                                             under the ADA by failing to provide Reasonable Accommodations for Individual
                                                                        21
                                                                             Plaintiffs’ with mobility impairments, even though Individual Plaintiffs specifically
                                                                        22
                                                                             requested such. Instead, Defendants toss Plaintiffs’ mobility aids.
                                                                        23
                                                                                223.       Defendants have committed acts of intentional discrimination under
                                                                        24
                                                                             Title II of the ADA by demonstrating deliberate indifference, because they had
                                                                        25
                                                                             knowledge that harm to disabled persons and their rights, including Named Disabled
                                                                        26
                                                                             Plaintiffs’ and Disabled Subclass Members’ rights, under the ADA were
                                                                        27
                                                                             substantially likely to occur, and they failed to act upon such likelihood.
                                                                        28

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                                                                         1
                                                                                224.       Individual Plaintiffs’ needs for reasonable and necessary disability
                                                                         2
                                                                             accommodations were obvious in many instances and known to Defendants, and
                                                                         3
                                                                             were requested. Many Individual Plaintiffs with disabilities have visible mobility
                                                                         4
                                                                             impairments, as they rely on walkers, canes, and/or wheelchairs. Plaintiffs made
                                                                         5
                                                                             reasonable accommodation requests during, and in advance of, “homeless sweeps”
                                                                         6
                                                                             and/or in writing to Defendants, which Defendants acknowledged receiving.
                                                                         7
                                                                                225.       Defendants ignored, failed to investigate, respond to, or fulfill
                                                                         8
                                                                             Individual Plaintiffs’ Reasonable Accommodation requests, or to offer any
                                                                         9
                                                                             modification of its policies, practices, or customs for enforcement of relocation
                                                                        10
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                                                                             directives and property seizures and disposal and/or destruction activities. As a direct
                                                                        11
                                                                             and proximate result of Defendants’ past and continued failure to provide
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                                                                        12
                                                                             Reasonable Accommodations under the ADA, all Plaintiffs with disabilities have
                                                                        13
                                                                             suffered and continue to suffer injury and loss.
                                                                        14
                                                                                226.       Defendants do not have, and refuse to create or follow, adequate
                                                                        15
                                                                             policies and processes for receiving, processing, and responding to Reasonable
                                                                        16
                                                                             Accommodation requests, and they continue to engage in policies, patters, practices,
                                                                        17
                                                                        18
                                                                             and/or customs of disregarding Reasonable Accommodation requests from

                                                                        19
                                                                             unhoused persons with disabilities. Accordingly, Plaintiffs are entitled to injunctive

                                                                        20   and declaratory relief prohibiting Defendants from failing to provide Reasonable

                                                                        21   Accommodations in the future. As a direct and legal result of Defendants’ actions

                                                                        22   and omissions, the disabled Individual Disabled Plaintiffs and Disabled Subclass
                                                                        23   Members have suffered injury and loss, including serious emotional distress, and are
                                                                        24   entitled to compensatory and declaratory damages. In addition, Individual Disabled
                                                                        25   Plaintiffs and Disabled Subclass Members are entitled to injunctive and declaratory
                                                                        26   relief, restitution, and attorneys’ fees and costs.
                                                                        27
                                                                        28   / / /

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                                                                         1
                                                                                                    TWELFTH CAUSE OF ACTION
                                                                         2                  Violation of §504 of the Rehabilitation Act of 1973
                                                                                                             (29 U.S.C. §794)
                                                                         3
                                                                                    (All Disabled Subclass Member Plaintiffs Against All Defendants)
                                                                         4
                                                                                227.       Plaintiffs re-allege and incorporate by reference all the above
                                                                         5
                                                                             allegations as though fully set forth herein.
                                                                         6
                                                                                228.       Defendants receive financial assistance from the federal government
                                                                         7
                                                                             whose purpose is to finance a broad range of services, including health care,
                                                                         8
                                                                             education, social services, infrastructure, and public safety.
                                                                         9
                                                                                229.       Section 504 of the Rehabilitation Act of 1973 requires that qualified
                                                                        10
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                                                                             persons with disabilities be provided meaningful access to federally funded
                                                                        11
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                                                                             programs. In order to assure such access, Reasonable Modifications are required
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                                                                        12
                                                                             unless the recipient of federal funding can demonstrate that such modifications
                                                                        13
                                                                             would result in a fundamental alteration in the nature of the program (29 U.S.C.
                                                                        14
                                                                             §749; 24 C.F.R. §§8.3; 8.4; Alexander v. Choate, 469 U.S. 287, 301 (1985).
                                                                        15
                                                                                230.       Defendants’ actions and omissions have denied Named Disabled
                                                                        16
                                                                             Plaintiffs’ and Disability Subclass Members’ rights to Reasonable Modifications
                                                                        17
                                                                        18
                                                                             thereby denying them meaningful access to public facilities and places to safely be

                                                                        19
                                                                             and sleep, and to the amenities that the County, Cities and Caltrans offer their

                                                                        20   residents without disabilities, and subjecting them to discrimination on the basis of

                                                                        21   their disability, in violation of §504 of the Rehabilitation Act. Defendants’ actions

                                                                        22   also effectively undermine Federal assistance that is provided by other entities.
                                                                        23      231.       As a result of Defendants’ violations of the Rehabilitation Act,
                                                                        24   Plaintiffs have suffered and continue to suffer injuries, including emotional injuries,
                                                                        25   and are entitled to compensatory damages, including damages for emotional distress.
                                                                        26   In addition, Named Disabled Plaintiffs and Disability Subclass Members are entitled
                                                                        27   to injunctive and declaratory relief, restitution, and attorneys’ fees and costs.
                                                                        28

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                                                                         1
                                                                                                  THIRTEENTH CLAIM FOR RELIEF
                                                                         2                        Violation of Mandatory Statutory Duty
                                                                                       (Cal. Gov’t Code §815.6; Civ. Code §2080 et. seq.; and §3422.)
                                                                         3
                                                                                                   (All Plaintiffs Against All Defendants)
                                                                         4
                                                                                232.        Plaintiffs re-allege and incorporate by reference all the above
                                                                         5
                                                                             allegations as though fully set forth herein.
                                                                         6
                                                                                233.        California Government Code §815.6 creates a cause of action if and
                                                                         7
                                                                             when a public entity fails to discharge a mandatory duty imposed by enactment.
                                                                         8
                                                                             California Civil Code §2080 et. seq. imposes a mandatory statutory duty on public
                                                                         9
                                                                             entities and their employees, agents, contractors, and law enforcement agencies to
                                                                        10
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                                                                             maintain or safeguard unattended property over which they have charge, and also
                                                                        11
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                                                                             imposes a mandatory duty to abide by specific procedures and processes related to
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                                                                        12
                                                                             the storage, documentation, and disposition of property.
                                                                        13
                                                                                234.        Defendants' above-described actions, customs, policies, practices, and
                                                                        14
                                                                             conduct violate Civil Code §2080 et seq., by, among other things, failing to
                                                                        15
                                                                             safeguard the confiscated and unabandoned personal property of Named Plaintiffs,
                                                                        16
                                                                             Class Members, and Disabled Subclass Members found on public land, failing to
                                                                        17
                                                                        18
                                                                             inform the owners of the personal property within a reasonable time of finding it,

                                                                        19
                                                                             failing to document the property found, and failing to make restitution to its owners

                                                                        20   or to make arrangements to permit them to retrieve it, all of which are mandatory

                                                                        21   duties under §2080 et seq. for which Defendants are liable.

                                                                        22      235.        Defendants’ employees, agents, contractors, and law enforcement
                                                                        23   agencies took charge of Plaintiffs’ property, which was not abandoned. Rather than
                                                                        24   complying with their mandatory duties and obligations under Civil Code §2080 et
                                                                        25   seq. to maintain, document, and store property for temporary safekeeping,
                                                                        26   Defendants and their employees, agents, contractors, and law enforcement
                                                                        27   summarily destroyed these items as part of their efforts to intimidate and chase
                                                                        28   homeless citizens “away” from their resident towns.

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                                                                         1
                                                                                236.       Defendants’ employees, agents, and contractors failed to use due care
                                                                         2
                                                                             or protect and preserve Plaintiffs’ property as required by Civil Code §2080 et seq.
                                                                         3
                                                                             when Defendants summarily destroyed Plaintiffs’ property in public locations; failed
                                                                         4
                                                                             to provide written receipt or notice that the property would be destroyed; and failed
                                                                         5
                                                                             to track or otherwise store the property so that it could be recovered upon request.
                                                                         6
                                                                                237.       The failures of Defendants’ employees, agents, and/or contractors to
                                                                         7
                                                                             comply with the mandatory duties outlined in Civil Code §2080 et seq. proximately
                                                                         8
                                                                             caused Plaintiffs’ harm, including property loss, emotional distress, anxiety, and
                                                                         9
                                                                             pain and suffering, and Plaintiffs are entitled to compensatory damages for such.
                                                                        10
                                                                                           Defendants’ violations of law are ongoing and continue to harm
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                                                                                238.
                                                                        11
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                                                                             Plaintiffs. Plaintiffs are therefore entitled to injunctive relief to prevent further
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                                                                        12
                                                                             breaches of Defendants’ obligations. See Cal. Civ. Code §3422.
                                                                        13
                                                                                                 FOURTEENTH CLAIM FOR RELIEF
                                                                        14
                                                                                          Violation of the Bane Act - California Civil Code § 52.1
                                                                        15                        (All Plaintiffs Against All Defendants)
                                                                        16      239.        Plaintiffs re-allege and incorporate by reference all the above
                                                                        17   allegations as though fully set forth herein.
                                                                        18      240.       The Bane Act, Civil Code §52.1 et seq., establishes a remedy for actual
                                                                        19   or attempted interference with existing rights under Federal and California law. In
                                                                        20   particular, §52.1(a) provides that if a person interferes, or attempts to interfere, “by
                                                                        21   threats, intimidation, or coercion, with the exercise or enjoyment by any individual
                                                                        22
                                                                             or individuals of rights secured by the Constitution or laws of the United States, or
                                                                        23
                                                                             the rights secured by the Constitution or laws of this State,” then the Attorney
                                                                        24
                                                                             General, or any District or City Attorney, may bring a civil action for equitable relief.
                                                                        25
                                                                             Section 52.1(b) further allows “[a]ny individual” so aggrieved to sue for “[statutory]
                                                                        26
                                                                             damages under Section 52, injunctive relief, and other appropriate equitable relief to
                                                                        27
                                                                             protect the peaceable exercise or enjoyment of the right or rights secured.” Civ. Code
                                                                        28
                                                                             §52.1(b); see also, Venegas v. County of Los Angeles, 32 Cal. 4th 820, 841-43 (2004).
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                                                                         1      241.         The word “interferes,” as used in the Bane Act, means “violates.” See,

                                                                         2   Jones v. Kmart Corp., 17 Cal. 4th 329, 336-37 (1998). Thus, the essence of a Bane

                                                                         3   Act claim is that the Defendants, by threats, intimidation or coercion, violated some
                                                                         4   statutory or Constitutional right, be it State or Federal, of the Plaintiff. Id. at 344.
                                                                         5   The “[u]se of law enforcement authority to effectuate a stop, detention …, and search
                                                                         6   can constitute” a threat, intimidation or coercion. Cole v. Doe 1 Through 2 Officers
                                                                         7   of Emeryville Police Dept., 387 F. Supp. 2d 1084, 1103 (N.D. Cal. 2005). Whether
                                                                         8   or not an action qualifies as a “threat, intimidation or coercion” is broadly construed.
                                                                         9   See Venegas, 32 Cal. 4th at 850-51.
                                                                        10      242.         Defendants' policies, practices, and procedures of summarily sweeping,
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                                                                        11   raiding, chasing, threatening, and harassing Plaintiffs, and seizing and destroying
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                                                                        12   Plaintiffs’ property, constitute interference, and attempted interference, by threats,
                                                                        13   intimidation, and coercion, with Plaintiffs' exercise and enjoyment of rights secured
                                                                        14   by the laws of the United States and California, in violation of Civil Code §52.1.
                                                                        15      243.         There was and is no lawful justification for Defendants to threaten,
                                                                        16   intimidate, or coerce any of the Plaintiffs or Class Members, or to attempt to use
                                                                        17   threats, intimidation, or coercion as described herein to interfere with Plaintiffs’
                                                                        18   exercise of rights. Defendants’ actions were and are taken willfully and with malice
                                                                        19
                                                                             and oppression in order to deter and/or prevent Plaintiffs and Class and Subclass
                                                                        20
                                                                             Members from exercising their protected constitutional and statutory rights.
                                                                        21
                                                                                244.         Plaintiffs, Class Members, and Disabled Subclass Members are entitled
                                                                        22
                                                                             to, and seek, injunctive and other equitable relief to protect their peaceful exercise
                                                                        23
                                                                             and enjoyment of their rights.
                                                                        24
                                                                                                      FIFTEENTH CLAIM FOR RELIEF
                                                                        25                                 Common Law Conversion
                                                                        26             (All Plaintiffs Against All Defendants Except City of San Diego)

                                                                        27      245.         Plaintiffs re-allege and incorporate by reference all the above
                                                                        28   allegations as though fully set forth herein.

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                                                                         1      246.       Named Plaintiffs, Class Members, and Disabled Subclass Members

                                                                         2   were at all relevant times the owners of the personal property confiscated and

                                                                         3   destroyed by Defendants. These Plaintiffs remain entitled to the possession of their
                                                                         4   personal property. The property which was confiscated, stolen, seized, and destroyed
                                                                         5   by Defendants and their agents included tents, clothing, prescription medications,
                                                                         6   medical devices, irreplaceable personal memorabilia, and important documents, all
                                                                         7   of which were particularly valuable to Named Plaintiffs, Plaintiff Class Members,
                                                                         8   and Disabled Subclass Members in part because these belongings amounted to most,
                                                                         9   if not all, of the few possessions that these Plaintiffs owned.
                                                                        10      247.       Defendants' practices and conduct denied Plaintiffs the peaceful use
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                                                                        11   and possession of their property and constituted an unlawful conversion of that
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                                                                        12   property to the possession and control of Defendants, and Plaintiffs are entitled to
                                                                        13   recovery of the value of such.
                                                                        14      248.       In addition, Plaintiffs, Class Members, and Disabled Subclass Members
                                                                        15   are entitled to relief for the emotional and mental distress suffered, as well as
                                                                        16   humiliation due to the repeated violations of their property rights. Defendants’
                                                                        17   unlawful actions in “taking” Plaintiffs’, Class Members’, and Disabled Subclass
                                                                        18   Members personal property for Defendants’ own personal use, and the resulting
                                                                        19
                                                                             injuries, entitle Plaintiffs and Class Members to compensatory damages, injunctive
                                                                        20
                                                                             and declaratory relief, restitution, and recovery of their attorneys’ fees and costs.
                                                                        21
                                                                                             SIXTEENTH CAUSE OF ACTION FOR RELIEF
                                                                        22                                  Declaratory Relief
                                                                                                  (All Plaintiffs Against All Defendants)
                                                                        23
                                                                        24
                                                                                249.        Plaintiffs re-allege and incorporate by reference all the above

                                                                        25   allegations as though fully set forth herein.

                                                                        26      250.       An actual controversy exists between Plaintiffs and Defendants as to

                                                                        27   whether Defendants have violated 42 U.S.C. §1983 by inflicting cruel and unusual

                                                                        28   punishments upon Plaintiffs by punishing their homeless status by citing, arresting,

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                                                                         1   pressuring and obtaining stay-away orders, and otherwise punishing Plaintiffs by

                                                                         2   utilizing Municipal Codes, Ordinances, and State Penal Code violations to

                                                                         3   criminalize homelessness. In addition, an actual controversy exists as to whether
                                                                         4   Defendants have violated Plaintiffs’ United States and California Constitutional
                                                                         5   rights, including their rights to Equal Protection, Due Process, freedom from
                                                                         6   Unreasonable Search and Seizure, and Cruel and Unusual Punishment.
                                                                         7      251.       Plaintiffs, Class Members, and Disabled Subclass Members are persons
                                                                         8   desiring declarations of their rights and duties with respect to Defendants, within the
                                                                         9   meaning of CCP §1060 because Plaintiffs are, and represent the interests of,
                                                                        10   unhoused residents and taxpayers directly affected by Defendants’ actions.
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                                                                        11      252.       Plaintiffs desire a judicial determination of the duties of Defendants,
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                                                                        12   and of Defendants’ non-compliance with 42 U.S.C §1983, and whether Defendants
                                                                        13   have abridged or violated Plaintiffs’ Constitutional rights. Such declaration is
                                                                        14   necessary and appropriate so that Defendants can comply with their duties, and so
                                                                        15   that the rights, health, and safety of Plaintiffs, Class Members, and Disabled
                                                                        16   Subclass Members and the public can be protected and not further endangered.
                                                                        17                           SEVENTEENTH CLAIM FOR RELIEF
                                                                        18                                       Injunctive Relief
                                                                                                      (All Plaintiffs Against All Defendants)
                                                                        19
                                                                                253.       Plaintiffs re-allege and incorporate by reference all the above
                                                                        20
                                                                        21
                                                                             allegations as though fully set forth herein.

                                                                        22      254.       Defendants’ ongoing “sweeps,” threats, intimidation, seizure, and

                                                                        23   summary destruction of Plaintiffs’ personal property leave Plaintiffs without the

                                                                        24   essential survival gear they need to protect themselves from the elements and with

                                                                        25   nowhere to seek alternative shelter. Moreover, Defendants make absolutely no effort
                                                                        26   to retain obviously valuable property so that it can be later recovered by its owners.
                                                                        27   As a matter of both Constitutional and statutory law, there is no lawful basis upon
                                                                        28   which Defendants may summarily destroy Plaintiffs’ personal property.

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                                                                         1
                                                                                255.        Defendants’ actions in seizing and destroying Plaintiffs’ personal
                                                                         2
                                                                             property, without adequate notice and opportunity to be heard, violates the U.S. and
                                                                         3
                                                                             California Constitutions. Moreover, Defendants’ failure to store Plaintiffs’ property
                                                                         4
                                                                             and permit Plaintiffs the opportunity to claim it violates State and Federal laws.
                                                                         5
                                                                                256.        Plaintiffs ask this Court to enjoin Defendants from: (1) issuance of
                                                                         6
                                                                             citations or threats that criminalize Plaintiffs for their involuntary status of
                                                                         7
                                                                             homelessness and without an adequate offer of shelter; and (2) taking, removing,
                                                                         8
                                                                             and destroying Plaintiffs’ personal property without proper notice, due process, and
                                                                         9
                                                                             without reasonable opportunity to retrieve their property at a later time. Plaintiffs
                                                                        10
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                                                                             also request that the Court issue an order restraining Defendants from taking any
                                                                        11
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                                                                             future actions in furtherance of, and in the manners set forth in this Complaint, which
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                                                                        12
                                                                             essentially penalize the unhoused for their status of being unhoused.
                                                                        13
                                                                                257.        Unless and until Defendants are enjoined by order of this Court from
                                                                        14
                                                                             failing to comply with their obligations under the law, and enjoined from issuing
                                                                        15
                                                                             citations enforced in violation of Plaintiffs’ Constitutional rights, and until
                                                                        16
                                                                             Defendants are ordered to comply with their obligations to refrain from issuing such
                                                                        17
                                                                        18
                                                                             citations unless and until an alternative is available to Plaintiffs as set forth above,

                                                                        19
                                                                             Plaintiffs are suffering and will suffer significant and irreparable injury including:

                                                                        20      (a) They will be deprived of rights under Federal and State law;

                                                                        21      (b) They will suffer irreparable injury which cannot adequately be remedied by

                                                                        22           money;
                                                                        23      (c) They will suffer injuries which are difficult or impossible to quantify; and
                                                                        24      (d) The important rights protected by the California and United States
                                                                        25           Constitutions may be forever compromised and lost.
                                                                        26                                             RELIEF SOUGHT
                                                                        27           WHEREFORE, Plaintiffs respectfully request relief as follows:
                                                                        28   / / /

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                                                                         1
                                                                             A. Declaratory Relief:
                                                                         2
                                                                             1. An order certifying this action as a class action pursuant to F.R.Civ.P. Rule
                                                                         3
                                                                                23(a) and Rule 23(b)(2), for proposed Plaintiff Class, together with any
                                                                         4
                                                                                appropriate Subclasses, with the named Plaintiffs as class representatives;
                                                                         5
                                                                             2. A declaratory judgment that Defendants’ seizure and destruction of the
                                                                         6
                                                                                personal property of unhoused people violates the Fourth and Fourteenth
                                                                         7
                                                                                Amendments to the U.S. Constitution and Article I, §7(a) and §13 of the
                                                                         8
                                                                                California Constitution;
                                                                         9
                                                                             3. A declaratory judgment that Defendants’ ongoing enforcement and seizure
                                                                        10
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                                                                                practices are government programs that discriminate against unhoused people
                                                                        11
                                                  SAN DIEGO, CA 92101




                                                                                with disabilities in violation of 42 U.S.C. §12131 and Cal. Gov. Code §11135
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                                                                        12
                                                                                and that such practices amount to intentional discrimination and deliberate
                                                                        13
                                                                                indifference towards unhoused people with disabilities in violation of 42
                                                                        14
                                                                                U.S.C. §12132 and 42 U.S.C. §12133;
                                                                        15
                                                                             4. A declaratory judgment that Defendants have violated the Americans with
                                                                        16
                                                                                Disabilities Act 42 U.S.C. §12131 et seq., failed to provide reasonable
                                                                        17
                                                                        18
                                                                                accommodations 42 U.S.C. §12132, intentionally discriminated or with

                                                                        19
                                                                                deliberate indifference against disabled persons under 42 U.S.C. §12132 and

                                                                        20      42 U.S.C. §12133, and violated §504 of the Rehabilitation Act of 1973

                                                                        21      pursuant to 29 U.S.C. §794;

                                                                        22   5. A declaratory judgment that Defendants violated their mandatory statutory
                                                                        23      duties and Cal. Gov. Code §815.6; Cal. Civ. Code §2080 et. seq; and Cal. Civ.
                                                                        24      Code §3422;
                                                                        25   6. A declaratory judgment that Defendants’ ongoing actions violate California
                                                                        26      Civil Code §52.1;
                                                                        27      and
                                                                        28

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                                                                         1
                                                                             7. A declaratory judgment that Defendants’ conduct of confiscating and
                                                                         2
                                                                               destroying Plaintiffs’ personal property constitutes an unlawful conversion of
                                                                         3
                                                                               that property to the possession and control of Defendants.
                                                                         4
                                                                             B. Injunctive Relief:
                                                                         5
                                                                         6
                                                                             1. Order that Defendants cease the unlawful seizure and destruction of all

                                                                         7      personal property of unhoused individuals, including unattended personal

                                                                         8      property. This relief shall include:

                                                                         9         a. Ensuring compliance with constitutional protections and statutory
                                                                        10             obligations, including Civil Code §2080 et seq, on the part of all
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                                                                        11             Defendants’ agents, agencies, and funded contractors;
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                                                                        12         b. Adopting lawful storage and documentation policies and practices to
                                                                        13
                                                                                       ensure all items seized by Defendants and their agents are properly
                                                                        14
                                                                                       tagged and stored for post-seizure retrieval. This documentation must
                                                                        15
                                                                                       include records of items that the Defendants and their agents seize and
                                                                        16
                                                                                       destroy as “trash”; and
                                                                        17
                                                                                   c. Providing adequate notice prior to any property seizure, disposal, or
                                                                        18
                                                                                       destruction at encampment removal operations;
                                                                        19
                                                                             2. Order that Defendants suspend all operations involving the removal of
                                                                        20
                                                                                unhoused people and their property from public locations until a lawful plan
                                                                        21
                                                                                with adequate and proper alternatives is put in place to address the violations
                                                                        22
                                                                                alleged herein, and prevent future violations;
                                                                        23
                                                                                and
                                                                        24
                                                                             3. Grant an injunction enjoining and restraining Defendants from actions that
                                                                        25
                                                                                discriminate against people with disabilities in the administration of their
                                                                        26
                                                                                programs in violation of 42 U.S.C. §12131 and Cal. Gov. Code §11135.
                                                                        27
                                                                        28

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                                                                         1
                                                                             C. Mandamus Relief:
                                                                         2
                                                                             1. Issue a mandatory order compelling Defendants to cease all activities that
                                                                         3
                                                                                violate the Fourth, Eighth, and/or Fourteenth Amendments to the U.S.
                                                                         4
                                                                                Constitution and Article I, §§7(a), 13, and 17 of the California Constitution;
                                                                         5
                                                                             2. Issue a mandatory order requiring Defendants to reasonably modify their
                                                                         6
                                                                         7
                                                                                programs to avoid any continued discrimination against unhoused people,

                                                                         8      pursuant to 42 U.S.C. §12131 and Cal. Gov. Code §11135 and the Americans

                                                                         9      with Disabilities Act (ADA), 42 U.S.C. § 12131 et. seq.;

                                                                        10   3. Issue a mandatory order requiring Defendants to conduct “self-evaluation”
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                                                                        11      pursuant to 28 CFR §35.105 of current services, policies and practices related
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                                                                        12      to property clearing and homeless encampment clearing operations, and
                                                                        13      evaluate any resulting undue burdens of these services, policies and practices
                                                                        14      on unhoused people,
                                                                        15      and
                                                                        16   4. Issue a mandatory order requiring Defendants to submit to regular monitoring
                                                                        17      and compliance checks by the Court at Defendants’ expense.
                                                                        18
                                                                             D. Other Relief:
                                                                        19
                                                                             1. For compensatory damages to all Plaintiffs and Class and Sub-Class members
                                                                        20
                                                                                for destruction of their personal property and emotional distress, in an amount
                                                                        21
                                                                                that is fair and reasonable, to be determined at trial;
                                                                        22
                                                                             2. For punitive damages pursuant to 42 U.S.C. §1983 and any other applicable
                                                                        23
                                                                                laws or statutes, as appropriate in an amount sufficient to deter and make an
                                                                        24
                                                                                example of the Defendants;
                                                                        25
                                                                             3. For reasonable attorneys’ fees and costs of suit pursuant to 42 U.S.C. §1983,
                                                                        26
                                                                                §1988, and any other applicable provisions;
                                                                        27
                                                                                and
                                                                        28

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                                                                         1
                                                                         2      4. For such other Declaratory, Injunctive, Mandamus and other relief as the

                                                                         3          Court deems just and proper.
                                                                         4
                                                                                                              DEMAND FOR JURY TRIAL
                                                                         5
                                                                                    Plaintiffs hereby request and demand a trial by jury on all issues so triable.
                                                                         6
                                                                         7   Dated: January 5, 2025                                        LAW OFFICE of
                                                                                                                                           BLANCHE E. MAINE
                                                                         8
                                                                         9                                                       By:
                                                                                                                                           Blanche E. Maine
                                                                        10
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                                                                                                                                 - and -
                                                                        11
                                                                             Dated: January 5, 2025                                        DREHER LAW FIRM
                                                  SAN DIEGO, CA 92101
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                                                                        12
                                                                                                                                 By:
                                                                        13                                                                 Robert Scott Dreher
                                                                        14                                                       - and -
                                                                        15   Dated: January 5, 2025                                        MILLER LAW FIRM
                                                                        16                                                       By:       Matthew R. Miller
                                                                                                                                           Matthew R. Miller
                                                                        17
                                                                                                                                 Attorneys for Plaintiffs and the Class
                                                                        18
                                                                        19
                                                                                                            SIGNATURE CERTIFICATION
                                                                        20
                                                                                    Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
                                                                        21
                                                                        22
                                                                             Policies and Procedures Manual, I hereby certify that the content of this document

                                                                        23   is acceptable to Ms. Maine and Mr. Miller, Plaintiffs’ co-counsel herein, and that I

                                                                        24   have obtained their authorizations to affix their electronic signatures to this

                                                                        25   document.
                                                                        26                                                       By:       /s/ Robert Scott Dreher
                                                                                                                                           Robert Scott Dreher
                                                                        27
                                                                        28

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